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            EXHIBIT A
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                                                                                                      CONFIDENTIAL




                                                  Network Bidding Agreement

                 This Network Bidding Agreement (this "Agreement") is entered into by Google LLC and Google
                 Ireland Limited (collectively, "Google") and Facebook, Inc. and Facebook Ireland Limited
                 (collectively, "Facebook") as of the Effective Date (as defined below). This Agreement governs
                 Facebook's participation in the Network Bidding Pilot program and any successor services
                 (collectively, the "Program"). Any use of the term "including" in the Agreement will mean
                 "including, but not limited to." For clarity, any and all references to AdX, DoubleClick for
                 Publishers, AdMob, AdSense, DoubleClick Bid Manager, the Google Display Network, or the
                 Audience Network Service in this Agreement includes all successor products to the foregoing
                 (such as, for example, Google Ad Manager and Google Ad Manager 360, which is the
                 successor product to AdX and DoubleClick for Publishers, and Display and Video 360, which is
                 the successor product to DoubleClick Bid Manager). Any use of the term "including" in this
                 Agreement means "including, but not limited to." In consideration of the foregoing, the Parties
                 agree as follows:

                 1     Certain Definitions.

                       1.1   "Ads" or "Creative" means advertising content.

                       1.2   "Ad Inventory" means for a specific Ad request the Ad space on Publisher
                             Properties that has been made available for the placement of Ads via the Program.

                       1.3   "Advertiser" means a third-party advertiser on whose behalf Facebook buys Ad
                             Inventory via the Program.

                       1.4   "Affiliate" means, with respect to a Party, an entity that directly or indirectly controls,
                             is controlled by or is under common control with such Party.

                       1.5   "Aggregate" means data that: (a) is not broken out by individual Ad impression; and
                             (b) has been combined with other data in a manner that ensures that such data does
                             not identify any individual user, computer, or device.

                       1.6   "Annual Minimum Spend Commitment" has the meaning set forth in Exhibit B.

                       1.7   "Antitrust Action" means any administrative or judicial complaint, statement of
                             objections or similar charge (whether seeking fines, penalties, decisions, orders,
                             injunctions, decrees, judgments or any other corrective measures) filed, issued, or
                             initiated by any Governmental Authority and alleging a violation of any Antitrust Law
                             relating to the Agreement, or any litigation or proceeding initiated pursuant to
                             Antitrust Law and relating to the Agreement, including any appeal from a judgment
                             enjoining or declaring the Agreement unlawful pursuant to Antitrust Laws




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                       1.8   "Antitrust Law" means the Sherman Antitrust Act, as amended, the Clayton
                             Antitrust Act, as amended, the Hart-Scott-Rodino Act, the Federal Trade
                             Commission Act, as amended, and any and all other applicable laws, rules, or
                             regulations of any jurisdiction that are designed or intended to prohibit, restrict, or
                             regulate actions having the purpose or effect of monopolization, lessening of
                             competition or restraint of trade.

                       1.9   "Applicable Publisher" means either (a) the Publisher on whose Publisher Property
                             the Ad Inventory for a Bid Request is located or (b) the Publisher that is managing a
                             third party Publisher Property where the applicable Ad Inventory is located.

                       1.10 "Audience Network Service" means Facebook's service that facilitates the sale and
                            placement of Ads from Facebook and Facebook's third-party advertisers on third-
                            party publisher properties.

                       1.11 "Audience Network-Related Information" means non-public information that
                            Facebook discloses to Google that is related to the Audience Network Service. For
                            clarity, Audience Network-Related Information excludes Google Data, Google
                            Program-Related Information, Bid Response Data, Facebook Data, and information
                            Google has collected or received independent of Facebook's participation in the
                            Program.

                       1.12 "Beta Features" means Program features that are identified as "Beta", "Alpha",
                            "Experimental", "Limited Release" or "Pre-Release" or that are otherwise identified by
                            Google as unsupported.

                       1.13 "Bid Request" means a notification to Facebook through the Program of the
                            availability of Ad Inventory on Publisher Properties.

                       1.14 "Bid Response" means a non-zero bid on Ad Inventory.

                       1.15 "Bid Response Data" means any data provided by Facebook in response to a Bid
                            Request, including any bid amounts. For clarity, Bid Response Data excludes
                            Facebook Data, Google Data, and data that Google has collected or received
                            independent of Facebook's participation in the Program.

                       1.16 "Bid Response Rate" has the meaning set forth in Exhibit A.

                       1.17 "Brand Features" mean each Party's trade names, trademarks, logos and other
                            distinctive brand features.

                       1.18 "Confidential Information" means information that one Party (or an Affiliate)
                            discloses to the other Party under the Agreement, and that is marked as confidential
                            or would normally be considered confidential information under the circumstances. It


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                             does not include information that is independently developed by the recipient, is
                             lawfully given to the recipient by a third party without confidentiality obligations, or
                             becomes public through no fault of the recipient. For clarity, (x) Google Data and
                             Google Program-Related Information are considered Google's Confidential
                             Information and (y) Facebook Data, Bid Response Data and Audience Network -
                             Related Information are considered Facebook's Confidential Information. In addition,
                             for clarity, the terms and conditions of this Agreement are considered Confidential
                             Information under the Agreement.

                       1 19 "Covered Governmental Authorities" means one or more of the following
                            Governmental Authorities (with respect to (a) through (n) solely when acting pursuant
                            to an Antitrust Law): (a) The European Commission; (b) The United States
                            Department of Justice; (c) The United States Federal Trade Commission; (d)
                            Competition Bureau of Canada, (e) Korea Fair Trade Commission, (f) Japan Fair
                            Trade Commission, (g) Competition Commission of India, (h) Australian Competition
                            and Consumer Commission, (i) United Kingdom Competition and Markets Authority,
                            (j) Competition Authority of France, (k) Federal Cartel Office of Germany, (I)
                            Administrative Council for Economic Defense (CADE) of Brazil, (m) Taiwan Fair
                            Trade Commission, (n) state attorney generals in the United States, or (o) any
                            competent national data protection authority solely when acting pursuant to
                            applicable national data protection law.

                       1.20 "Data Protection Action" means any administrative or judicial complaint, statement
                            of objections or similar charge (whether seeking fines, penalties, decisions, orders,
                            injunctions, decrees, judgments or any other corrective measures) filed, issued, or
                            initiated by any competent national data protection authority acting pursuant to, and
                            alleging a violation of, national data protection law relating to the Agreement, or any
                            litigation or proceeding initiated by any competent national data protection authority
                            acting pursuant to national data protection law and relating to the Agreement,
                            including any appeal from a judgment enjoining or declaring the Agreement unlawful
                            pursuant to national data protection law.

                       1.21 "Destinations" mean Properties to which Creative directs viewers (e.g., landing
                            pages) and the redirect (e.g., URLs).

                       1.22 "Disclosing Party" means the Party disclosing Confidential Information.

                       1.23 "Discrepancy" means any discrepancy between Facebook's billing metrics and
                            Google's billing metrics used to measure Ad impressions and/or revenue.

                       1.24 "End User Interaction Data" means the following data that Facebook discloses to
                            Google in connection with the Program: data related to an End User's interaction
                            with an Ad provided by Facebook. For clarity, End User Interaction Data excludes
                            the identity of the advertiser and the content of the Ad.


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                       1.25 "End Users" means individual human end users.

                       1.26 "Facebook Data" means the following data that Facebook discloses to Google in
                            connection with the Program: (a) data related to Facebook provided Ads, including
                            the identity of the advertiser, the content of the Ad, and any Facebook provided
                            targeting specifications or parameters, (b) End User Interaction Data, and (c) the
                            identification of an End User as a Facebook End User. For clarity, Facebook Data
                            excludes Bid Response Data, Google Data, and data that Google has collected or
                            received independent of Facebook's participation in the Program.

                       1.27 "Fee" has the meaning set forth in Exhibit B.

                       1.28 "Final Clearinghouse Auction" means the final auction conducted by Google for Ad
                            Inventory between Facebook, network bidders, exchange bidders, and the winner of
                            the AdX auction. For clarity, this does not refer to the AdX auction, which submits a
                            bid to the final auction.

                       1.29 "Google Data" means the following data that Google discloses to Facebook in
                            connection with the Program: (a) Google Proprietary Data, (b) Google User Data,
                            and (c) Google Platform Data. For clarity, Google Data excludes Bid Response
                            Data, Facebook Data, and data that Facebook has (a) collected or received
                            independent of Facebook's participation in the Program, or (b) collected or received
                            independently via a direct integration with a Publisher Property (including via
                            Facebook's SDK) in connection with the Program in accordance with this Agreement.
                            In addition, for clarity, if Facebook wins an auction via the Program and therefore
                            serves an Ad on applicable Ad Inventory, then the data Facebook directly receives
                            from an End User's device, app, computer, or browser in connection with serving
                            such Ad would not be considered Google Data.

                       1.30 "Google Platform Data" means the data identified in Exhibit E as "Google Platform
                            Data" that Google discloses to Facebook in connection with the Program. For clarity,
                            Google Platform Data excludes data that Facebook has (a) collected or received
                            independent of Facebook's participation in the Program, or (b) collected or received
                            independently via a direct integration with a Publisher Property (including via
                            Facebook's SDK) in connection with the Program in accordance with this Agreement.
                            In addition, for clarity, if Facebook wins an auction via the Program and therefore
                            serves an Ad on applicable Ad Inventory, then the data Facebook directly receives
                            from an End User's device, app, computer, or browser in connection with serving
                            such Ad would not be considered Google Platform Data. After the Effective Date, if
                            Google shares additional data with Facebook, then Google may update the definition
                            of Google Platform Data upon written notice to Facebook (including via e-mail) in
                            accordance with Section 6.10 of this Agreement.




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                       1.31 "Google Policies" has the meaning set forth in Section 3.1(a).

                       1.32 "Google Policy Change" has the meaning set forth in Section 3.1(a).

                       1.33 "Google Privacy Policy" means https://www.gooqle.com/policies/privacw (as may
                            be updated from time to time).

                       1.34 "Google Program-Related Information" means non-public information that Google
                            discloses to Facebook that is related to the Program. For clarity, Google Program-
                            Related Information excludes Google Data, Bid Response Data, Facebook Data,
                            Audience Network-Related Information, and information that Facebook has collected
                            or received independent of Facebook's participation in the Program.

                       1.35 "Google Proprietary Data" means the data identified in Exhibit E as "Google
                            Proprietary Data" that Google discloses to Facebook in connection with the Program.
                            For clarity, Google Proprietary Data excludes data that Facebook has (a) collected or
                            received independent of Facebook's participation in the Program, or (b) collected or
                            received independently via a direct integration with a Publisher Property (including
                            via Facebook's SDK) in connection with the Program in accordance with this
                            Agreement. In addition, for clarity, if Facebook wins an auction via the Program and
                            therefore serves an Ad on applicable Ad Inventory, then the data Facebook directly
                            receives from an End User's device, app, computer, or browser in connection with
                            serving such Ad would not be considered Google Proprietary Data. After the
                            Effective Date, if Google shares additional data with Facebook, then Google may
                            update the definition of Google Proprietary Data upon written notice to Facebook
                            (including via e-mail) in accordance with Section 6.10 of this Agreement.

                       1.36 "Google User Data" means (a) header data in an HTTP(S) request initiated by
                            Google for the purpose of cookie matching and (b) the data identified in Exhibit E as
                            "Google User Data" that Google discloses to Facebook in connection with the
                            Program. For clarity, Google User Data excludes data that Facebook has (a)
                            collected or received independent of Facebook's participation in the Program, or (b)
                            collected or received independently via a direct integration with a Publisher Property
                            (including via Facebook's SDK) in connection with the Program in accordance with
                            this Agreement. In addition, for clarity, if Facebook wins an auction via the Program
                            and therefore serves an Ad on applicable Ad Inventory, then the data Facebook
                            directly receives from an End User's device, app, computer, or browser in connection
                            with serving such Ad would not be considered Google User Data. After the Effective
                            Date, if Google shares additional data with Facebook, then Google may update the
                            definition of Google User Data upon written notice to Facebook (including via e-mail)
                            in accordance with Section 6.10 of this Agreement.

                       1.37 "Governmental Authority" means any (a) foreign, federal, state or local court,
                            administrative agency, commission, official board, bureau, self-regulatory agency,


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                             officer, official, tribunal, mediator, governmental department, governmental authority
                             or instrumentality, in each case solely when acting pursuant to an Antitrust Law, or
                             (b) competent national data protection authority solely when acting pursuant to
                             national data protection law.

                       1.38 "Governmental Communication" means any written or oral communication relating
                            to Antitrust Law or any national data protection law received from or given to any
                            Governmental Authority.

                       1.39 "Gross Spend" has the meaning set forth in Exhibit B.

                       1.40 "Impression Count" means the measurement of the number of Ad impression(s)
                            that are filled.

                       1.41 "Indemnified Party" has the meaning set forth in Section 15.

                       1.42 "Indemnifying Party" has the meaning set forth in Section 15.

                       1.43 "Initial Term" has the meaning set forth in Section 17.

                       1.44 "Intellectual Property Rights" means all copyrights, moral rights, patent rights,
                            trademarks, and any other intellectual property or similar rights (registered or
                            unregistered) throughout the world.

                       1.45 "Match Rate" has the meaning set forth in Exhibit A.

                       1.46 "Material Adverse Regulatory Effect" means any substantial adverse effect on
                            either Party relating to any pending or on-going filing, inquiry, investigation, litigation,
                            statement of objections or similar charges, fines, penalties, decisions, orders,
                            injunctions, decrees, judgments or any other corrective measures initiated by
                            Covered Governmental Authorities.

                       1.47 "Material Document Request" means any demand or request from a
                            Governmental Authority relating to the Agreement requiring production of
                            documents, data or other information that the receiving Party reasonably concludes,
                            in good faith, would be unduly burdensome to comply with, or would require
                            production of documents, data or other information that the receiving Party
                            reasonably concludes, in good faith, would include highly confidential trade secrets
                            that are substantially unrelated to the Agreement and the production of which would
                            threaten to cause material economic harm to the receiving Party. If the receiving
                            Party is able to reach agreement with the Governmental Authority to reduce the
                            scope of the demand or request such that it, in the receiving Party's reasonable and
                            good faith judgment, would not cause or threaten to cause the receiving Party undue




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                             burden or material economic harm, then the request or demand would not qualify as
                             a Material Document Request.

                       1.48 "Minimum Fee" has the meaning set forth in Exhibit B.

                       1.49 "Parties" mean Google and Facebook collectively and "Party" means either
                            Facebook or Google.

                       1.50 "Phase 1" has the meaning set forth in Exhibit A.

                       1.51 "Phase 2" has the meaning set forth in Exhibit B.

                       1.52 "Phase 3" has the meaning set forth in Exhibit B.

                       1.53 "Program" has the meaning set forth in the first paragraph of this Agreement.

                       1.54 "Property" means site(s), app(s) or other propert(ies) made available through the
                            Program.

                       1.55 "Publisher" means a third-party publisher that makes its Propertie(s) available via
                            the Program.

                       1.56 "Publisher-Specific Data" means the data identified in Exhibit E as "Publisher-
                            Specific Data" that Google discloses to Facebook in connection with the Program.
                            For clarity, Publisher-Specific Data excludes data that Facebook has (a) collected or
                            received independent of Facebook's participation in the Program, or (b) collected or
                            received independently via a direct integration with a Publisher Property (including
                            via Facebook's SDK) in connection with the Program in accordance with this
                            Agreement. In addition, for clarity, if Facebook wins an auction via the Program and
                            therefore serves an Ad on applicable Ad Inventory, then the data Facebook directly
                            receives from an End User's device, app, computer or browser in connection with
                            serving such Ad would not be considered Publisher-Specific Data. After the Effective
                            Date, if Google shares additional data with Facebook, then Google may update the
                            definition of Publisher-Specific Data upon written notice to Facebook (including via e-
                            mail) in accordance with Section 6.10 of this Agreement.

                       1.57 "Quarter" means each three-month period of the calendar year (i.e., January 1
                            through March 31, April 1 through June 30, July 1 through September 30, and
                            October 1 through December 31).

                       1.58 "Real-Time" means the period of time between the time when a Bid Response is
                            received by Google and the time when the Final Clearinghouse Auction in which this
                            Bid Response participates is completed, and either a winner is determined or it is
                            determined that there is no auction winner.



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                       1.59 "Receiving Party" means the Party receiving Confidential Information.

                       1.60 "Renewal Term" has the meaning set forth in Section 17.

                       1.61 "Structured Negotiation" will be the following process: if the Parties cannot
                            resolve the issue specified in this Agreement within ten (10) business days after the
                            Parties begin discussing the issue, the Parties will escalate to their first-level
                            executives identified in the table below, who will negotiate in good faith to determine
                            a mutually-acceptable resolution. If the executives in the first escalation level are
                            unable to come to agreement within ten (10) business days from when they first
                            begin discussing the issue, they will each escalate to the second level of executives
                            identified in the table below, who will negotiate in good faith to determine a mutually-
                            acceptable resolution within ten (10) business days from when they first begin
                            discussing the issue. If the Parties are still unable to determine a mutually-
                            acceptable resolution after such ten (10) business days have lapsed, then either
                            Party may terminate this Agreement in accordance with the notice period set forth in
                            this Agreement. Either Party may update its respective list of executives listed below
                            upon written notice (including via e-mail) to the other Party.


                        Table 1— Structured Negotiation Contact Information


                  Escalation Level                  Executive for Facebook          Executive for Google




                  First Level


                  Second Level




                       1.62 "Subcontractors" mean a subcontractor, consultant, third-party service provider or
                            agent engaged by either Party in connection with its use or provision of the Program.

                       1.63 "Targets" mean Ad trafficking decisions and targeting decisions.

                       1.64 "Term" has the meaning set forth in Section 17.

                       1.65 "Three-Month Minimum Spend Commitment" has the meaning set forth in Exhibit
                            B.

                       1.66 "Win Rate" has the meaning set forth in Exhibit A.


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                 2    Program.

                      2.1   Program Operation.

                            (a) Facebook authorizes Google and its Affiliates to place Facebook's or its
                                Advertiser's Ads on any Publisher Property made available through the
                                Program in accordance with the terms of this Agreement. Facebook
                                acknowledges that Google or its Affiliates may participate in Program auctions
                                in support of its own services and products. Subject to each Publisher's
                                configuration in the AdX and DoubleClick for Publishers user interface or
                                AdMob user interface (i.e., if a Publisher has a configuration (or has set its
                                settings) that prioritizes Google, Facebook, or another third party, the following
                                will not apply), when competing for an Ad impression under the Program for
                                the Final Clearinghouse Auction between Google, Facebook, or other third
                                parties that are participating in the Program, Google will not advantage itself or
                                any other third party demand source vis-a-vis Facebook in such Final
                                Clearinghouse Auction. If Google provides written notice to Facebook that the
                                Program no longer operates as stated in the immediately preceding sentence
                                or if Facebook provides Google written notice that it has reasonably
                                determined that the Program no longer operates as stated in the immediately
                                preceding sentence, then Facebook may initiate the Structured Negotiation
                                Process. If the Parties are unable to resolve the issue following the Structured
                                Negotiation Process, then Facebook may, as its sole remedy, immediately
                                terminate this Agreement upon written notice to Google. For clarity, Google's
                                failure to comply with the obligation(s) set forth in the third sentence of this
                                Section 2.1(a) will not be considered a breach of this Agreement.

                            (b) Google acknowledges and agrees that the Final Clearinghouse Auction will be
                                the final auction for Ad Inventory made available via the Program. In addition,
                                for clarity, Google will use Facebook's Bid Response Data in accordance with
                                Section 6.5 (for example, it will not use Facebook's Bid Response Data to, in
                                Real-Time, adjust Google's or a third party's bid in the auction for Ad Inventory
                                made available via the Program).

                            (c) All Publishers that are enabled so that such Publisher(s)' Properties are
                                available via the Program to Facebook Advertisers will be mutually approved
                                by the Parties. For clarity, Publisher(s) that are not mutually approved, while
                                not being made available to Facebook Advertisers, may be made available to
                                other third-party bidders or other demand sources in the Program.

                            (d) For each Facebook Ad placed through the Program, Google will only share
                                information (for example, impression, click and price paid information, or
                                information which lists the associated Advertiser and Facebook as the
                                campaign buyer) regarding a Facebook Ad with an applicable Publisher if
                                Google shares the same or substantially same information to Publishers


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                            regarding Ads sourced from similarly situated third parties that participate in
                            the Program. As of the Effective Date, Google will provide Facebook with the
                            information fields it currently shares with Publishers regarding Facebook Ads
                            placed through the Program. If, during the Term, Facebook requests a written
                            update (including via e-mail) on the information fields that Google shares with
                            Publishers regarding Facebook Ads placed through the Program, then Google
                            will (i) provide Facebook with such updated information fields shared with
                            Publishers, provided that failure of such updated information fields to be
                            complete and accurate will not violate this Section 2.1(d) as along as Google
                            has used commercial reasonable efforts in accordance with clause (ii) below,
                            and (ii) use commercially reasonable efforts to ensure that such information
                            provided to Facebook under (i) is complete and accurate.

                        (e) Without limiting other restrictions in this Agreement related to the use of
                            Facebook Data, Facebook authorizes Google and its Affiliates to automate
                            retrieval and analysis of Destinations and Ads provided by Facebook under the
                            Program, as long as Google only uses such data for the following purposes:
                            (a) detecting violations of and enforcing the Google Policies (as defined in
                            Section 3.1(a)), the Common Advertiser Policies (as defined in Section 3.1(c)),
                            or, if technically feasible, the Google Ad content-related policies available at
                            the following link:
                                 s://: siort.aooqle.corr            Ipolicv/answer/30138-c19vigit irl‘
                            b.)     2u ..5674218141 3f           ,Ahl=en&rif: (the "Google Ad Content
                            Policies") (including, without limitation, detection of illegal content or content
                            that violates the Google Policies, the Common Advertiser Policies, or the
                            Google Ad Content Policies), (b) complying with applicable laws, rules, and
                            regulations, (c) detecting malware, (d) classifying Ads into categories, (e)
                            reporting statistics in accordance with the second and third sentences of
                            Section 6.4 of this Agreement, or (f) troubleshooting functionality of
                            Facebook's integration with the Program (which, for example, includes
                            identifying problematic Ads, removing such Ads from Publisher Properties, and
                            communicating the foregoing to Facebook). With respect to the purposes set
                            forth in (a) in the first sentence of this paragraph, if Google detects any
                            violations in connection with any Facebook-provided Ads, then Google will use
                            commercially reasonable efforts to provide Facebook with the reason for the
                            violation for each such Ad (i.e., the identifier of each Ad and the associated
                            violation code). With respect to the purposes set forth in (d) in the first
                            sentence of this paragraph, (i) Google will only disclose data obtained via the
                            automated retrieval process set forth in the first sentence of this paragraph in
                            accordance with the second and third sentences of Section 6.4 of this
                            Agreement, (ii) Google will use commercially reasonable efforts to provide
                            Facebook with the category for each Ad (i.e., the identifier of each Ad and the
                            associated category code), provided that such Ads category information will be
                            deemed Google Proprietary Data subject to Section 2.1(f) below, and (iii)



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                              Google will not block Ads sourced from Facebook via the Program based on
                              the classification set forth in (d) in the first sentence of this paragraph without
                              mutual written approval (including via e-mail) of the Parties. With respect to
                              the purposes set forth in (f) in the first sentence of this paragraph, Google will
                              only disclose data obtained via the automated retrieval process set forth in the
                              first sentence of this paragraph to the Applicable Publishers for purposes of
                              troubleshooting Facebook's integration with the Program.

                        (f)   In connection with Section 2.1(e), when Google automatically retrieves and
                              analyzes Destinations and Ads, Facebook will use commercially reasonable
                              efforts to provide Google with (a) each creative asset, the ID that represents a
                              specific creative asset and Destinations and (b) for each Bid Response that
                              results in an Ad being served to an End User, the ID of the creative asset and
                              Destinations that actually served to an End User. Facebook will also use
                              commercially reasonable efforts to collaborate with Google on the
                              development of a unified classification structure to support eventually offering
                              unified reporting and blocking functionality to Publishers; provided, however,
                              that neither Party will be required to commit engineering or other technical
                              resources to any such collaboration until the Parties reach mutual agreement
                              on the data categorization (e.g., Google Proprietary Data, Google Platform
                              Data, or a new category) for the Ads category information shared with
                              Facebook in connection with such unified classification structure under the
                              third sentence, subsection (ii) of Section 2.1(e).

                        (g)   Upon Google's request, Facebook will use commercially reasonable efforts to
                              either reject or remove itself or assist Google in rejecting or removing (if
                              technically feasible) a specific Ad at any time (i) to enforce the Google Policies
                              or the Common Advertiser Policies (including, without limitation, suspending
                              an Ad due to illegal content or content that violates the Google Policies or the
                              Common Advertiser Policies), (ii) to comply with applicable laws, rules, and
                              regulations, (iii) due to an Ad containing malware, or (iv) at a Publisher's
                              request. For clarity, Google may, if technically feasible, either reject or remove
                              a specific Ad for the reasons set forth in the immediately preceding sentence
                              (or to reject or remove a specific Ad to enforce the Google Ad Content
                              Policies).

                        (h) Google may modify Ads (i) to make non-material changes (for example, (a) to
                            watermark an Ad with a non-visible overlay, (b) to resize or similarly modify an
                            Ad to fit a screen or otherwise improve user experience, or (c) to insert
                            parameters into an Ad html returned to a device in cases where Facebook has
                            used one of Google's macros) or (ii) as described in this Agreement. Any
                            other modification to Ads may be requested by Google but requires
                            Facebook's approval or authorization (including such approval being provided
                            via e-mail).




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                            (i)   Change in Measurement. At any time during the Term, if Google materially
                                  changes how it measures an Ad impression such that Google reasonably
                                  anticipates that such change will create a greater than 5% Discrepancy
                                  against Google-attributed measurement for all Ad impressions in the
                                  aggregate for the 3 months prior to the change, then Google will use
                                  commercially reasonable efforts to provide Facebook with written notice
                                  (including via e-mail) 6 months prior to such material change, but such notice
                                  will be provided no less than 60 days prior to such material change. If
                                  Facebook demonstrates that any change in measurement attributable to
                                  Google (i.e., such change is not attributed to any measurement change made
                                  by Facebook) creates a greater than 10% Discrepancy against Google-
                                  attributed measurement for all Ad impressions in the aggregate for the 3
                                  months prior to the change, then Facebook may initiate the Structured
                                  Negotiation Process. If the Parties are unable to resolve such issue after the
                                  Structured Negotiation Process, then Facebook has option of (i) excluding that
                                  specific Ad Inventory (and any applicable minimum spend commitment will be
                                  reduced accordingly with respect to that particular percentage of Ad Inventory)
                                  or (ii) Facebook can continue with that specific Ad Inventory included (and any
                                  applicable minimum spend commitment will remain the same). If Facebook's
                                  annualized Gross Spend via the Program (with such annualized Gross Spend
                                  estimated based on the Gross Spend for the 1 month following such
                                  measurement change multiplied by 12) declines by more than 75% due to
                                  such measurement change as measured against the annualized Gross Spend
                                  estimated based on the Gross Spend for the 1 month prior to such
                                  measurement change multiplied by 12 (for example, Facebook's annualized
                                  Gross Spend declines from $2 billion to $400 million due to such measurement
                                  change), then Facebook has the right to initiate the Structured Negotiation
                                  Process and if the Parties are unable to resolve the issue following the
                                  Structured Negotiation Process, Facebook may immediately terminate the
                                  Agreement upon written notice to Google.

                            (j)   Experiments. Each Party may run limited experiments designed, with respect
                                  to Google, to optimize the Program auction, and with respect to Facebook, to
                                  optimize its performance in the Program auction, that may violate the terms
                                  and conditions of this Agreement, as long as those experiments: (i) do not
                                  violate Sections 6.4 to 6.10, Section 11, and Section 13(c) of this Agreement;
                                  and (ii) solely if such experiments run on no greater than 2% of Ad Inventory.

                      2.2   Mutual Responsibilities.

                            (a) To participate in the Program, Publishers will be required to enter into separate
                                agreements with both Facebook and Google. With respect to Google, such
                                agreement will permit Publisher Propert(ies) to be made available via the
                                Program and with respect to Facebook, such agreement will allow for
                                Facebook to pay such Publisher the applicable revenue share due to such



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                                  Publisher directly (subject to Section 5.2(a) of this Agreement, where Google
                                  may make certain payments owed to Publisher(s) under this Agreement upon
                                  mutual agreement of the Parties).

                            (b) The Parties will comply with each of their respective Program commitments set
                                forth in Exhibit A.

                            (c) Google and Facebook will collaborate in good faith to build a product solution
                                that allows signals that Facebook collects for mobile app Ad Inventory via the
                                Program to be passed to its bidder via real-time bidding Bid Requests.

                            (d) The Parties will use commercially reasonable efforts to enable video, app, and
                                web Publisher Ad Inventory for the Program in the Ad formats specified in
                                Section 2.3(b) below (i.e., the Publisher Ad Inventory formats that are
                                generally made available via the Program to other similarly situated third
                                parties). In addition, the Parties intend to make the Program available to
                                Publishers located in all countries where Google ordinarily operates, provided
                                that, a failure to launch the Program in any particular country (other than the
                                United States) would not be considered a breach of this Agreement.

                            (e) Other than as necessary to conduct mutually agreed upon (including agreed
                                via e-mail) Ad testing for the Program, each Party will not, and will not
                                authorize any third party to, (a) generate fraudulent or otherwise invalid
                                impressions, inquiries, clicks or conversions, or (b) conceal conversions.

                            (f)   For clarity, if either Party is troubleshooting functionality related to Facebook's
                                  integration with the Program and such Party unintentionally violates the terms
                                  and conditions of this Agreement while performing such troubleshooting
                                  (excluding Section 11 or Section 13(c)), then such violation would not be
                                  considered a breach of this Agreement, provided that such Party remedies
                                  such violation promptly upon discovery.

                      2.3   Google Responsibilities.

                            (a) Google and its Affiliates may make available to Facebook certain Program
                                features (e.g., geographic targeting) to assist with the selection of Targets.
                                Facebook is not required to use these features and, as applicable, may opt-in
                                to or opt-out of usage of these features, but if Facebook (or its Advertiser(s))
                                use these features then Facebook will be responsible for the Targets that are
                                provided or used by Facebook (and, for clarity, the foregoing does not apply to
                                Targets provided by Google and used by Facebook in accordance with this
                                Agreement).

                            (b) Google will, with respect to Publishers that have opted-into the Program, make
                                available all (a) Publisher Ad Inventory formats that are generally made
                                available via the Program to other similarly situated third parties and (b)



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                                auctions that are generally made available via the Program to other similarly
                                situated third parties.

                            (c) Google will not use Facebook's Confidential Information to develop or enhance
                                a product or service that competes with the Audience Network Service; for
                                clarity, the foregoing does not restrict Google from developing or enhancing a
                                product or service that competes with the Audience Network Service without
                                Facebook's Confidential Information. In addition, Google will not use Audience
                                Network-Related Information to build or enhance equivalent products to the
                                Audience Network Service; for clarity, the foregoing does not restrict Google
                                from developing or enhancing a product or service that competes with the
                                Audience Network Service without Audience Network-Related Information.
                                Google will not sell, disclose, or transfer any Audience Network-Related
                                Information to any third party, provided that the disclosures or transfers
                                permitted under Section 11 (Confidentiality) will also apply to Google's transfer
                                or disclosure of Audience Network-Related Information.

                      2.4   Facebook Responsibilities.

                            (a) Facebook will use commercially reasonable efforts to provide a user interface
                                for Publishers that allows such Publishers to identify the types of Ads that will
                                or will not be allowed to be displayed against Publisher Ad Inventory via the
                                Program.

                            (b) Google acknowledges that in connection with the Program, Facebook will
                                integrate its Software Development Kit (SDK) into Publisher's mobile
                                applications for purposes of Creative rendering, measurement, Ad delivery,
                                and any other functionality that may be provided by Facebook. For clarity, this
                                Section 2.4(b) does not impose any obligation on Google with respect to
                                Facebook's SDK. For additional clarity, this Section 2.4(b) does not preclude
                                the Parties from collaborating on a solution that would enable Facebook to
                                integrate similar tools into Publisher's websites for the same purposes as
                                Facebook's SDK.

                            (c) Facebook may utilize an Ad server with respect to the Program solely for
                                serving or tracking Ads. For the avoidance of doubt, the foregoing sentence
                                does not in any way limit any functionality related to Facebook's SDK.

                            (d) Some Program features may be offered to Facebook as Beta Features.
                                Facebook may not disclose any information from Beta Features or the terms or
                                existence of any non-public Beta Features.

                            (e) Facebook will not use Google's Confidential Information to develop or enhance
                                a product or service that competes with the Program; for clarity, the foregoing
                                does not restrict Facebook from developing or enhancing a product or service
                                that competes with the Program without Google's Confidential Information. In



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                                  addition, Facebook will not use Google Program-Related Information to build
                                  or enhance equivalent products to DoubleClick for Publishers, AdX, or AdMob;
                                  for clarity, the foregoing does not restrict Facebook from developing or
                                  enhancing a product or service that competes with DoubleClick for Publishers,
                                  AdX, or AdMob without Google Program-Related Information. Facebook will
                                  not sell, disclose, or transfer any Google Program-Related Information to any
                                  third party, provided that the disclosures or transfers permitted under Section
                                  11 (Confidentiality) will also apply to Facebook's transfer or disclosure of
                                  Google Program-Related Information.

                 3    Policies.


                      3.1   Policy Mechanism.

                            (a)   In connection with the Program, Facebook will comply with the Google policies
                                  set forth on Exhibit C ("Google Policies"). If Google changes the Google
                                  Policies after the Effective Date (each, a "Google Policy Change"), Google
                                  will provide written notice to Facebook of such Google Policy Change and
                                  Facebook must accept such Google Policy Change in writing (including via e-
                                  mail) prior to the Google Policy Change applying to Facebook and (ii) any such
                                  Google Policy Change will apply to all similarly-situated demand sources in the
                                  Program.

                            (b)   If Facebook is unwilling or unable to accept any Google Policy Change upon
                                  provision of notice by Google, then Google may initiate the Structured
                                  Negotiation Process and if the Parties are unable to resolve the issue following
                                  the Structured Negotiation Process, then, as its sole remedy, either Party may
                                  terminate the Agreement upon written notice to the other party following a 12-
                                  month wind-down period. During such wind-down period, the Google Policy
                                  Change would not apply to Facebook, unless the Google Policy Change is the
                                  result of a change in law, rule or regulation or due to a material negative event
                                  that occurs with respect to the Program (e.g., significant malware or data
                                  leakage), in which case the Google Policy Change would immediately apply to
                                  Facebook. If Facebook objects to the immediate application of such Google
                                  Policy Change to Facebook, Facebook may initiate the Structured Negotiation
                                  Process and if the Parties are unable to resolve the issue following the
                                  Structured Negotiation Process, then, as its sole remedy, Facebook may
                                  terminate the Agreement upon 30 days' written notice to Google.

                            (c)   Facebook will require all Facebook Advertisers to contractually agree to
                                  comply with the then-current version of the Facebook Advertising Policies, the
                                  current version of which is available at https://www.facebook.com/policies/ads/
                                  ("Facebook Advertising Policies") and Facebook will use commercially
                                  reasonable efforts to enforce the Facebook Advertising Policies, provided that



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                                 if Facebook changes any of the Facebook Advertising Policies set forth on
                                 Exhibit D (each, a "Common Advertiser Policy") after the Effective Date
                                 (each, a "Facebook Policy Change") for all Facebook Advertisers at
                                 https://www.facebook.com/policies/ads, Facebook will provide written notice to
                                 Google of such Facebook Policy Change as it relates to the Program and if
                                 Google objects to any Facebook Policy Change upon provision of notice by
                                 Facebook, then Google may initiate the Structured Negotiation Process and if
                                 the Parties are unable to resolve the issue following the Structured Negotiation
                                 Process, then, as its sole remedy, Google may immediately terminate the
                                 Agreement. For clarity, nothing in this Section 3.1(c) limits Facebook's ability
                                 to enforce the Facebook Advertising Policies.

                      3.2   In connection with the Program, Facebook will comply with Facebook's data policy
                            located at:   ps://www.facebook.com/policv.pi.,.

                      3.3   In connection with the Program, Google will comply with the Google Privacy Policy.

                      3.4   Google and Facebook will work in good faith to agree to a mutually agreed upon
                            Code of Conduct, provided that such Code of Conduct will not be contractually
                            binding on either Party and will not result in additional obligations on either Party.

                 4    Ad Cancellation. Unless a Google Policy or the Program user interface (the "UI")
                      provides otherwise, either Party may cancel any Ad; provided that Google may only cancel
                      an Ad for the purposes set forth in Section 2.1(g). Cancelled Ads will generally cease
                      serving within 8 business hours or as described in a Google Policy or UI, and Facebook
                      remains obligated to pay all charges resulting from served Ads.

                 5    Payment.

                      5.1    Payments to Google.

                             (a) Google will invoice Facebook for the Fee (as set forth in Exhibit B) on a monthly
                                 basis. Facebook will pay Google the Fee, in immediately available funds or as
                                 otherwise approved by Google, within thirty (30) days after the date of invoice
                                 (the "Payment Due Date"). All payments will be made in U.S. dollars. Late
                                 payments that are not disputed in good faith bear interest at the rate of 1.5%
                                 per month (or the highest rate permitted by law, if less); provided that interest
                                 will not begin to accrue until 30 days following the Payment Due Date. If
                                 Facebook does not pay Google the Fee (other than any charge(s) disputed in
                                 good faith) within 10 days following the Payment Due Date, Google may
                                 suspend Facebook's participation in the Program on 10 days' prior notice to
                                 Facebook, provided, however, that in the event of a suspension pursuant to this
                                 Section 5.1(a), without limiting any of Google rights and remedies under this
                                 Agreement, Google will reinstate the provision and use of the Program to
                                 Facebook promptly following payment. Google is responsible for paying all
                                 taxes and government charges associated with the Fee paid to Google.



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                            (b) Charges to Facebook are solely based on Google's measurements for the
                                Program and its applicable billing metrics (e.g., impressions). If there is a
                                greater than 3% Discrepancy in aggregate across all Publishers between
                                Facebook and Google's billing metrics during a particular month of the Term
                                (the "Discrepancy Period"), then the Parties will work in good faith to identify
                                the reason for and resolve the Discrepancy. If the Parties are unable to resolve
                                the Discrepancy within 30 days, then Google's billing metrics will apply for the
                                Discrepancy Period.

                            (c) Facebook is required to spend the minimum amount of Gross Spend as set
                                forth in Exhibit B.

                            (d) Any portion of a charge not disputed in good faith must be paid in full. Other
                                than as set forth in the immediately following sentence, neither Party may offset
                                any payment due under this Agreement against any other payment to be made
                                under this Agreement. Subject to Section 6 of Exhibit A, Google may offset any
                                charges invoiced in the immediately subsequent invoice, to account for
                                adjustments in Google's measurement of revenue and impression figures.
                                Facebook will be able to calculate such adjustment via the mechanism
                                described in Section 5.2(d).

                            (e) If applicable, Facebook will not exceed its aggregate credit line as determined
                                by Google in its reasonable discretion (and made available if requested) and
                                Google will not be obligated to provide the Program to Facebook in excess of
                                such credit line. For clarity, the credit line will be based on Fees, and not on
                                Gross Spend (as such capitalized terms are defined in this Agreement).
                                Google reserves the right to reduce such credit line in its reasonable discretion.
                                If a reduction in such credit line will materially impede Facebook's ability to
                                participate in the Program, then Google will provide Facebook with the rationale
                                for such reduction prior to such reduction and Facebook will have a meaningful,
                                good faith opportunity to discuss and dispute such reduction with Google.

                      5.2   Payments to Publisher.

                            (a) Facebook will make all payments owed to Publisher(s) under this Agreement in
                                accordance with the agreement entered into between such Publisher(s) and
                                Facebook except as otherwise set forth in this Agreement. If Facebook
                                charges any incremental fee to Publisher(s), excluding any buy-side fees that
                                Facebook may charge its Advertisers, Facebook will disclose such fee to such
                                Publisher(s). In addition, Facebook may not restrict Publisher(s) from
                                disclosing to Google the amount paid by Facebook to such Publisher(s) or any
                                incremental fee that Facebook charges to such Publisher(s). As between the
                                Parties (except as set forth in the immediately following sentence), Facebook
                                will be responsible for all taxes and other government charges in connection
                                with such payments to Publisher(s). If mutually agreed upon by the Parties,
                                Google will make certain payments owed to Publisher(s) under this Agreement
                                in accordance with the agreement entered into between such Publisher(s) and


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                                Google; solely if Google makes such payments, Google will be responsible for
                                all taxes and other government charges in connection with such payments to
                                Publisher(s).

                             (b) Payments made by Facebook to Publisher(s) under this Agreement will be
                                 made based on Google's measurements for the Program and its applicable
                                 billing metrics (e.g., impressions), provided that for each applicable month of
                                 the Term that Facebook makes payment to Publisher(s), Google will provide
                                 Google's measurements for the Program and its applicable metrics (e.g.,
                                 impressions and amount payable to each Publisher) by no later than the
                                 second of the following calendar month. If Google provides Google's
                                 measurements and its applicable metrics to Facebook after the second of any
                                 month of the Term as set forth in the foregoing sentence, then Facebook's
                                 payment to Publisher(s) for such month will be based on Facebook's
                                 measurements for the Program, provided that if there is a Discrepancy greater
                                 than 3% for a specific Publisher and Google or the Publisher initiates a dispute
                                 with Facebook based on such Discrepancy within 60 days of the applicable
                                 impression activity, the Parties will work in good faith to identify the reason for
                                 the Discrepancy. If the Parties are unable to resolve the Discrepancy within 30
                                 days, then Facebook will pay the Publisher based on Google's measurements
                                 as the system of record, provided that Facebook reserves the right to not
                                 request refunds from Publishers in the event that Google's measurements will
                                 be to an applicable Publisher's detriment. If Google notifies Facebook of invalid
                                 traffic on Publishers' Proper(ties), then Facebook may, in its discretion, issue
                                 refunds to its Advertisers due to invalid traffic on Publishers' Propert(ies) (and
                                 clawback revenue from such Publishers).

                             (c) Google will have no liability for any discrepancy between Google's Impression
                                 Count under the Program and the Impression Count produced by Facebook's
                                 Ad server.

                             (d) For Ad impressions won by Facebook under the Program, solely for the
                                 purpose of enabling Facebook to bill Publishers or identifying and minimizing
                                 Discrepancies, both Google and Facebook will provide a mechanism that
                                 provides the other Party with (1) aggregate data that allows the other Party to
                                 validate billable impressions used to determine the amount to be paid to
                                 Publishers, with such reporting to be updated daily, and (2) the amount payable
                                 to Publishers.

                 6.   Privacy and Data.

                      6.1.   Facebook must maintain, and will require that all third parties that collect data
                             through Ads maintain a publicly available online privacy policy that provides notice
                             of data collection practices related to its Ad campaigns booked through the
                             Program, including without limitation use of a cookie, web beacon, or other tracking
                             mechanisms.


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                      6.2.   Facebook will not alter, and will prohibit third parties from altering, any Ad tags to
                             pass information to Google that Google could use or recognize as personally
                             identifiable information.

                      6.3.   Google will take reasonable steps to ensure that an End User is provided with clear
                             and comprehensive information about, and gives consent to, the storing and
                             accessing of cookies and other information on the end user's device where such
                             activity occurs in connection with the Program and where providing such
                             information and obtaining such consent is required by law.

                      6.4.   Restrictions on Google's use of Facebook Data and Bid Response Data. In
                             addition to the obligations set forth in Section 2.1(e), Google will not use Facebook
                             Data or Bid Response Data to: (a) build, create, or enhance End User profiles or
                             advertising segments, (b) retarget End Users, (c) categorize an End User as a
                             Facebook End User, or (d) sell, transfer, or disclose any Facebook Data or Bid
                             Response Data to any third party (other than transfers or disclosures permitted
                             under this Agreement). Google may disclose to the Applicable Publishers, for
                             reporting (including, for clarity, benchmarking) purposes or troubleshooting
                             functionality of Facebook's integration with the Program, Facebook Data and Bid
                             Response Data (both in non-aggregated form) that does not identify and does not
                             intend to identify any Advertiser or any Ad creative (except, Google may disclose
                             an Ad creative to an Applicable Publisher to the extent required for troubleshooting
                             functionality of Facebook's integration with the Program, provided that the number
                             of Ad creatives disclosed for troubleshooting does not exceed 5% of all Ad
                             creatives provided by Facebook during the period of troubleshooting); provided that
                             if Google provides reporting of such data that associates Facebook's bid amounts
                             with ad categories, then such data will only either be in the data transfer file shared
                             with the Applicable Publishers or otherwise be in Aggregate form at the ad
                             category-level. Additionally, Google may disclose to third parties, for reporting
                             (including, for clarity, benchmarking) purposes, Facebook Data and Bid Response
                             Data that: (i) is in Aggregate form, (ii) does not identify and does not intend to
                             identify any Advertiser or any Ad creative, and (iii) does not identify and does not
                             intend to identify Facebook as the source. The disclosures or transfers permitted
                             under Section 11 (Confidentiality) will also apply to Google's transfer or disclosure
                             of Bid Response Data or Facebook Data. Google will not use Facebook Data
                             (excluding End User Interaction Data) to build or enhance an equivalent product to
                             the Audience Network Service; for clarity, (x) the foregoing does not restrict Google
                             from developing or enhancing a product or service that competes with the
                             Audience Network Service without Facebook Data and (y) without limiting any other
                             non-competing uses, any optimization of the auction on Ad Inventory made
                             available under the Program using Facebook Data (as long as such Facebook
                             Data is used in accordance with this Agreement) will not deemed to be an
                             enhancement of an equivalent product to the Audience Network Service for
                             purposes of this Agreement. Google may retain Facebook Data (including any
                             derivatives of Facebook Data) for no longer than 18 months (excluding End User


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                             Interaction Data (including any derivatives of End User Interaction Data), where
                             Google may retain such data except as set forth in the immediately following
                             sentence). With respect End User Interaction Data, Google may retain event-level
                             End User Interaction Data (including any derivatives of event-level End User
                             Interaction Data) for no longer than 18 months; except for certain event-level End
                             User Interaction Data which may be kept indefinitely as required by Google's
                             reasonable and standard business practice solely for archival and record-keeping
                             purposes (e.g., financial reporting, audit purposes, or dispute resolution).

                      6.5.   Additional Restrictions on Google's use of Bid Response Data. Google will
                             not use Bid Response Data to: (a) transfer or otherwise disclose in Real-Time such
                             Bid Response Data to any Google system other than the system conducting the
                             auction for the applicable Ad Inventory; (b) adjust or otherwise influence in Real-
                             Time the bid response of another bidder (including Google) in the auction for the
                             applicable Ad Inventory; (c) adjust or otherwise influence in Real-Time the
                             computation of any price floor, price reserve, or other pricing parameter for the
                             applicable Ad Inventory; (d) reverse engineer, or otherwise derive the underlying
                             algorithms, strategies, models, or approach of Facebook's bidding logic (e.g.,
                             Google will not use Bid Response Data to improve Google's own bidding strategy
                             as a bidder); or (e) associate any Bid Response Data (including any bid amounts)
                             with any data related to Ads or Creatives (other than for the purposes set forth in
                             second sentence of Section 6.4 or (d) of the first sentence of Section 2.1(e)).
                             Notwithstanding the foregoing, the immediately preceding sentence does not apply
                             to the following data, as long as such data is not preferentially shared with
                             DoubleClick Bid Manager or the Google Display Network as compared to all other
                             bidders or other demand sources in an auction: (a) the amount of the second-
                             highest bid (which may be disclosed to the winning bidder or other demand source)
                             or (b) the amount of the highest bid (which may be disclosed to all bidders or other
                             demand sources in the same auction). Google may retain event-level Bid
                             Response Data for no longer than 18 months, except for certain event-level Bid
                             Response Data (e.g., buyer identity, bid price, trading location, time stamp, etc.)
                             which may be kept indefinitely as required by Google's reasonable and standard
                             business practice solely for archival and record-keeping purposes (e.g., financial
                             reporting, audit purposes, or dispute resolution).

                      6.6.   Restrictions on Facebook's use of Google User Data. Facebook will not use
                             Google User Data (including any derivatives of Google User Data, but excluding
                             derivatives of IP address and user_agent, as such terms are referred to in Exhibit
                             E, solely from Facebook Users, as such term is defined in Exhibit C (such
                             derivatives of IP address and user_agent solely from Facebook Users, the
                             "Specified Derivative Data")) to bid or inform bidding on any platform or channel
                             other than the Program. In addition, Facebook will not use Google User Data
                             (including any derivatives of Google User Data, but excluding Specified Derivative
                             Data) to: (a) build, create, or enhance Publisher End User profiles or advertising
                             segments, (b) retarget Publisher End Users via other platforms or channels, or (c)


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                             categorize an End User as a Publisher End User. Facebook will not store or retain
                             Google User Data (including any derivatives of Google User Data), provided that,
                             for clarity, Facebook may store, retain and use (a) Specified Derivative Data (as
                             long as Facebook does not store or retain the actual IP address and user-agent)
                             for no longer than 18 months and solely if such data is otherwise used and
                             disclosed in accordance with this Agreement and (b) any bidding models
                             specifically for the Program trained or optimized with Google User Data in
                             accordance with this Section 6.6.

                      6.7.   Restrictions on Facebook's use of Google Proprietary Data. Facebook will not
                             use Google Proprietary Data (including any derivatives of Google Proprietary Data)
                             to: (a) bid or inform Facebook's bidding on any platform or channel other than the
                             Program, or (b) reverse engineer or otherwise derive the underlying algorithms,
                             strategies, models, or approach of generating Google Proprietary Data. In
                             addition, Facebook will not use Google Proprietary Data (including any derivatives
                             of Google Proprietary Data) to retarget Publisher End Users on any other platforms
                             or channels. Notwithstanding anything to the contrary in this Agreement, starting
                             on the Effective Date of this Agreement and continuing for 18 months thereafter,
                             Facebook may use the data identified as
                             bid_response_feedback.creative_status_code in Exhibit E to bid or inform
                             Facebook bidding outside of the Program. In addition, notwithstanding anything to
                             the contrary in this Agreement, starting on the date on which Google begins
                             providing such data and continuing for 6 months thereafter, Facebook may use the
                             data identified as bid_response_feedback.competing_bid_value in Exhibit E to bid
                             or inform Facebook bidding outside of the Program. Facebook may retain Google
                             Proprietary Data (including any derivatives of Google Proprietary Data), for no
                             longer than 18 months, provided that, for clarity, Facebook may store, retain and
                             use any bidding models specifically for the Program trained or optimized with
                             Google User Data in accordance with this Section 6.7.

                      6.8.   Restrictions on Facebook's use of Google Data. In addition to the other
                             obligations in this Agreement related to the use of Google Data, Facebook will not
                             use Google Data to build or enhance an equivalent product to DoubleClick for
                             Publishers, AdX, or AdMob or sell, disclose, or transfer any Google Data to any
                             third party (other than transfers or disclosures permitted under this Agreement); for
                             clarity, (a) the foregoing does not restrict Facebook from developing or enhancing a
                             product or service that competes with DoubleClick for Publishers, AdX, or AdMob
                             without Google Data, (b) without limiting any other non-competing uses, Facebook
                             will be permitted to use Google Platform Data to bid or inform Facebook's bidding
                             on programs and channels other than the Program, and (c) without limiting any
                             other non-competing uses, any bidding models (including technologies that
                             implement such bidding models, e.g., Facebook's SDK) trained or optimized with
                             Google Data (as long as such Google Data is used in accordance with this
                             Agreement) will not deemed to be an equivalent product to DoubleClick for
                             Publishers, AdX, or AdMob for purposes of this Agreement. The disclosures or


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                             transfers permitted under Section 11 (Confidentiality) will also apply to Facebook's
                             transfer or disclosure of Google Data. Facebook may retain Google Data
                             (excluding, Google User Data, which may not be stored or retained in accordance
                             with Section 6.6 above) for no longer than 18 months, except for certain event-level
                             Bid Request data (e.g., publisher identity, auction clearing price, time stamp, etc.)
                             which may be kept indefinitely as required by Facebook's reasonable and standard
                             business practice solely for archival and record-keeping purposes (e.g., financial
                             reporting, audit purposes or dispute resolution).

                      6.9.   Restrictions on Facebook's use of Publisher-Specific Data. Facebook will use
                             Publisher-Specific Data solely for Ad categorization necessary for Facebook to
                             participate in the Program, unless Facebook has obtained written consent from
                             Publishers (including via its written agreement with Publishers) granting Facebook
                             additional rights to use such Publisher-Specific Data (in which case, Facebook will
                             only use such Publisher-Specific Data within the scope of such consent). For
                             clarity, until Facebook has obtained written consent (including via its written
                             agreement with Publishers) granting Facebook additional rights to use Publisher-
                             Specific Data, such data will be Google Proprietary Data. Facebook may retain
                             Publisher-Specific Data for no longer than 18 months, except for certain Publisher-
                             Specific Data which may be kept indefinitely as required by Facebook's reasonable
                             and standard business practice solely for archival and record-keeping purposes
                             (e.g., financial reporting, audit purposes or dispute resolution).

                      6.10. Additional Data Disclosures. If Google discloses additional data to Facebook
                            after the Effective Date, then Google may in its reasonable discretion (with
                            reference to prior categorizations of similar data fields under Exhibit E of this
                            Agreement) categorize such data as either Google User Data, Google Proprietary
                            Data, Google Platform Data, or Publisher-Specific Data and the applicable
                            provisions of this Agreement related to that data definition will apply to such
                            additional disclosed data. If Facebook objects to Google's categorization of such
                            data, then both Parties' respective product teams will use commercially reasonable
                            efforts to resolve the issue in a mutually agreeable manner. If the Parties are
                            unable to agree on a mutually agreeable categorization of such additional data
                            after such discussions, then Google's categorization of such additional data will
                            apply, provided that, if Facebook's monthly average Win Rate for Ad Inventory
                            declines by more than 40% due to Google's categorization of such additional data
                            (for example, Facebook's average Win Rate for Ad Inventory on a month-to-month
                            basis declines from 10% to 6.0% due to such categorization), then Facebook has
                            the right to initiate the Structured Negotiation Process and if the Parties are unable
                            to resolve the issue following the Structured Negotiation Process, then Facebook
                            may immediately terminate the Agreement upon written notice to Google. For
                            clarity, Google may not re-categorize data that is defined as of the Effective Date
                            as either Google User Data, Google Proprietary Data, Google Platform Data, or
                            Publisher-Specific Data to a different category or definition.



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                 7. Regulatory Cooperation.

                      7.1.   To the extent permitted by applicable law, and subject to Section 7.2 below, each
                             of Google and Facebook agrees to use its reasonable best efforts to:

                             (a) cooperate and assist each other in responding to any Antitrust Action, Data
                                 Protection Action, or any inquiry or investigation relating to the Agreement by any
                                 Governmental Authority, and in defending the Agreement against any Antitrust
                                 Action, Data Protection Action, or any inquiry or investigation relating to the
                                 Agreement by any Governmental Authority;

                             (b) promptly and fully inform the other Party of any Governmental Communication
                                 relating to the Agreement (provided that, to the extent appropriate, any Party may
                                 designate such information as attorneys' or outside counsel only);

                             (c) allow the other Party a reasonable time to review and consider in good faith the
                                 views of the other with respect to any Governmental Communication (provided
                                 that, to the extent appropriate, any Party may designate such information as
                                 attorneys' or outside counsel only);

                             (d) not advance arguments in connection with any Antitrust Action, Data Protection
                                 Action, or any inquiry or investigation relating to the Agreement by any
                                 Governmental Authority (other than litigation between the Parties) over the
                                 objection of the other Party that would reasonably be likely to have a substantial
                                 adverse effect on that other Party; and

                             (e) consult with the other Party in advance, to the extent practicable, and give the
                                 other Party and its counsel reasonable notice and, to the extent not prohibited by
                                 law or the relevant Governmental Authority, an opportunity to attend and
                                 participate in any meeting or discussion with any Governmental Authority relating
                                 to any Antitrust Action, Data Protection Action, or any inquiry or investigation
                                 relating to the Agreement by any Governmental Authority.

                      7.2.   The Parties will use reasonable best efforts to attempt to (a) reach an agreement
                             with a Governmental Authority to reduce the scope of any Material Document
                             Request such that the request or demand, in the receiving Party's reasonable and
                             good faith judgment, would not cause or threaten to cause the receiving Party undue
                             burden or material economic harm or (b) avoid or resolve an Antitrust Action or Data
                             Protection Action that seeks to enjoin the Agreement or seeks related monetary
                             damages, fines or penalties; provided, however, that reasonable best efforts in this
                             Section 7.2 will not under any circumstances require either Party to propose,
                             negotiate, agree to, commit to and/or effect, by consent decree, hold separate order
                             or otherwise (i) the sale, license, divestiture, transfer, or other disposition of any
                             assets or business; (ii) any modification to any agreement, policy or practice, or any
                             limitation on its freedom of action with respect to any assets or business, except in


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                              each case for a modification of the terms of the Agreement that does not materially
                              alter the economics of the Agreement or result in a Material Adverse Regulatory
                              Effect; or (iii) to make any monetary or in-kind payment, whether denominated as a
                              fine, penalty, damages, compensation, costs, attorney's fees or otherwise.

                       7.3.   The foregoing obligations in this Section 7 will remain in effect after termination of the
                              Agreement, until all Antitrust Actions, Data Protection Actions, and all inquiries or
                              investigations relating to the Agreement by any Governmental Authority are
                              concluded or become nonappealable and any relevant periods of limitation for the
                              commencement of such actions have expired.

                       7.4.   Notwithstanding the foregoing, if only one Party is identified as a target, defendant or
                              an addressee of an Antitrust Action, Data Protection Action, or inquiry or
                              investigation by any Governmental Authority relating to the Agreement, the
                              obligations in Sections 7.1(a) through 7.1(e) and 7.2 do not apply to the Party that is
                              the target, defendant or an addressee, whereas the other Party will remain subject to
                              those Sections.

                8.     Intellectual Property. Except to the extent expressly stated otherwise in the Agreement,
                       neither Party will acquire any right, title or interest in any Intellectual Property Rights
                       owned or licensed by the other Party.

                9.     Brand Features. Neither Party will use the other Party's Brand Features (including for
                       marketing and promotional purposes) with respect to this Agreement without such Party's
                       prior written approval.

                10.    Publicity or PR. Neither Party may make any public statement or issue any marketing or
                       other materials regarding the Program or this Agreement without the other Party's prior
                       written approval. In addition, neither Party will issue presentations or other
                       communications made generally available to Publishers regarding the Program without
                       the other Party's prior written approval, provided that, the foregoing will not restrict either
                       Party from communicating on a 1-on-1 basis with Publishers as necessary to operate or
                       use the Program without needing to obtain approval from the other Party. Each Party will
                       only start communicating with Publishers regarding this Program on a mutually approved
                       date, provided that, after either Party's first communication with any Publisher regarding
                       this Program, the immediately preceding sentence will apply (i.e., no further approval will
                       be necessary for 1-on-1 communications with Publishers as necessary to operate or use
                       the Program). Also, Facebook will not disclose to any Publisher any Fee charged by
                       Google to Facebook that is less than the highest listed Fee in this Agreement (e.g., 10%
                       as of the Effective Date) charged by Google. Facebook may disclose to a Publisher the
                       highest listed Fee in this Agreement charged by Google to Facebook, as long as such
                       Publisher is under a non-disclosure agreement that protects the confidentiality of such
                       disclosure with terms at least as restrictive as the terms set forth in this Agreement to
                       protect Confidential Information.

                11.    Confidentiality. Other than as set forth in this Agreement, the Receiving Party will not
                       disclose the Confidential Information of the Disclosing Party, except to Affiliates,
                       employees, Subcontractors, or professional advisors of the Receiving Party who need to
                       know it and who have agreed in writing (or in the case of professional advisors are


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                      otherwise bound) to keep it confidential. The Receiving Party will ensure that those
                      people and entities use the Confidential Information of the Disclosing Party only to
                      exercise rights and fulfill obligations under the Agreement, and that they keep it
                      confidential. The Receiving Party may also disclose Confidential Information when
                      required by law after giving reasonable notice to the Disclosing Party, if permitted by law.

                12.   Beta Features. Google may provide Beta Features to Facebook in connection with the
                      Program, as long as (a) Google notifies Facebook in writing (including via e-mail) prior to
                      making the Beta Feature available for Facebook's use under the Program and (b) such
                      Beta Features are not required to use the Program as contemplated under this Agreement.
                      Google will have no liability under the Agreement (including any indemnification obligations)
                      (excluding for clarity, Google's breach of Sections 2.1(b), 6.4, 6.5, 11 and 13(c)) arising out
                      of or related to any use of Beta Features by Facebook, its Affiliates, or Advertisers. Any
                      use of Beta Features will be solely at Facebook's own risk and may be subject to additional
                      requirements as specified by Google. Google is not obligated to provide support for Beta
                      Features and Google may cease providing Beta Features as part of the Program. For
                      clarity, Facebook is not required to use any Beta Features and such use is in Facebook's
                      sole discretion.

                13.   Representations and Warranties. Each Party represents and warrants that it (a) has all
                      necessary rights and authority to enter into this Agreement, and perform its obligations
                      hereunder and thereunder; (b) has obtained and maintains all rights, approvals, and
                      consents from third parties necessary to enter into this Agreement and perform its
                      obligations hereunder; and (c) will comply with applicable laws, rules, and regulations in
                      (i) its performance of its obligations under this Agreement, and (ii) with respect to Google,
                      its provision of the Program, and with respect to Facebook, its use of the Program.
                      For clarity, reference to Section 13(c) of this Agreement refers to the compliance with
                      laws, rules, and regulations provision set forth in the preceding sentence.

                14.   Disclaimers. Except as expressly provided for in the Agreement and to the maximum
                      extent permitted by applicable law, NEITHER PARTY MAKES ANY WARRANTY OF ANY
                      KIND, WHETHER IMPLIED, STATUTORY, OR OTHERWISE, AND EACH PARTY
                      DISCLAIMS, WITHOUT LIMITATION, ALL WARRANTIES OF MERCHANTABILITY,
                      FITNESS FORA PARTICULAR USE, AND NON-INFRINGEMENT. THE PROGRAM
                      AND THE AUDIENCE NETWORK SERVICE IS PROVIDED "AS IS" AND EXCEPT AS
                      EXPRESSLY PROVIDED HEREIN, GOOGLE AND FACEBOOK, AND THEIR
                      RESPECTIVE AFFILIATES AND ITS PUBLISHERS DO NOT MAKE ANY
                      GUARANTEES IN CONNECTION WITH THE PROGRAM OR PROGRAM RESULTS,
                      OR THE AUDIENCE NETWORK SERVICES, RESPECTIVELY. IN ADDITION,
                      NEITHER PARTY WILL HAVE ANY LIABILITY OR INDEMNIFICATION OBLIGATIONS
                      UNDER THIS AGREEMENT ARISING OUT OF OR RELATED TO PUBLISHER(S) OR
                      ANY PUBLISHER PROPER(TIES).

                 15. Indemnification.

                      15.1.   Each Party (the "Indemnifying Party") will defend and indemnify the other Party
                              and its officers, directors, employees and agents (each, an "Indemnified Party")
                              from all third-party claims or liabilities (including reimbursement for reasonable


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                              outside attorneys' fees and disbursements) arising out of or related to the
                              Indemnifying Party's (or the Indemnifying Party's Subcontractors') breach or
                              alleged breach of: (i) its obligations under this Agreement with respect to the use
                              or non-use of data (including, for clarity, either Party's privacy obligations related
                              to the use or non-use of data, cookies, or other identifiers), or (ii) Section 13(c) of
                              the Agreement. The Indemnifying Party will have no liability or obligation under
                              this Section 15 with respect to any claim that is caused by the Indemnified Party's
                              breach of its obligations under this Agreement.

                      15.2.   The Indemnified Party must (i) promptly notify the Indemnifying Party in writing of
                              any third-party claims (except that failure of the Indemnified Party to promptly
                              notify the Indemnifying Party will not relieve the Indemnifying Party of its
                              indemnification obligations, except to the extent it has been damaged by the
                              failure); (ii) reasonably cooperate with the Indemnifying Party in the defense of the
                              matter and (iii) give the Indemnifying Party primary control of the defense of the
                              matter and negotiations for its settlement. The Indemnified Party may at its
                              expense join in the defense with counsel of its choice. The Indemnifying Party
                              may enter into a settlement only if it (A) involves only the payment of money
                              damages by the Indemnifying Party and (B) includes a complete release of the
                              Indemnified Party; any other settlement will be subject to written consent of the
                              Indemnified Party (not to be unreasonably withheld or delayed).

                      15.3.   If the Program (or technology used to provide the Program) becomes, or in
                              Google's reasonable opinion is likely to become, the subject of an intellectual
                              property infringement claim, then Google will promptly notify Facebook and, at its
                              sole option and expense, may suspend provision of the Program (or technology
                              used to provide the Program) and either: (x) procure the right to continue providing
                              the Program as contemplated by this Agreement; (y) modify the Program to render
                              it non-infringing without adversely affecting use of the Program; or (z) replace the
                              Program with a functionally equivalent, non-infringing service. If the above options
                              are not commercially practicable, either Party may terminate this Agreement.

                 16. Limitation of Liability.

                      16.1.   EXCEPT FOR (A) INDEMNIFICATION AMOUNTS PAYABLE TO THIRD
                              PARTIES UNDER THE AGREEMENT AND (B) BREACHES OF SECTION 11
                              (CONFIDENTIALITY) OF THIS AGREEMENT, TO THE FULLEST EXTENT
                              PERMITTED BY LAW REGARDLESS OF THE THEORY OR TYPE OF CLAIM:
                              (a) NO PARTY OR ITS AFFILIATES MAY BE HELD LIABLE UNDER THIS
                              AGREEMENT OR ARISING OUT OF OR RELATED TO PERFORMANCE OF
                              THIS AGREEMENT FOR ANY DAMAGES OTHER THAN DIRECT DAMAGES,
                              EVEN IF THE PARTY IS AWARE OR SHOULD KNOW THAT SUCH DAMAGES
                              ARE POSSIBLE AND EVEN IF DIRECT DAMAGES DO NOT SATISFY A
                              REMEDY.




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                       16.2. EXCEPT FOR (A) INDEMNIFICATION AMOUNTS PAYABLE TO THIRD
                             PARTIES UNDER THE AGREEMENT OR (B) AMOUNTS OWED AND PAYABLE
                             UNDER THIS AGREEMENT, IN NO EVENT WILL EITHER PARTY'S MAXIMUM
                             AGGREGATE LIABILITY ARISING FROM OR RELATING TO THIS
                             AGREEMENT EXCEED THE TOTAL AMOUNTS PAID TO GOOGLE UNDER
                             THIS AGREEMENT DURING THE TWELVE (12) MONTHS IMMEDIATELY
                             PRECEDING THE CIRCUMSTANCES THAT GAVE RISE TO THE CLAIM AT
                             ISSUE. THE EXISTENCE OF MORE THAN ONE CLAIM WILL NOT ENLARGE
                             THIS LIMITATION.

                       16.3. THE PARTIES AGREE THAT THE ABOVE PROVISIONS FAIRLY ALLOCATE
                             THE PARTIES' RISKS AND ARE ESSENTIAL ELEMENTS OF THE BASIS OF
                             THE BARGAIN.

                 17.   Term. The term of this Agreement will begin on the Effective Date and continue for a
                       period of four (4) years (the "Initial Term"). The Initial Term will automatically renew and
                       continue until termination of this Agreement (the "Renewal Term"), unless a Party gives
                       the other Party written notice of its intent not to renew the Agreement at least one
                       hundred eighty (180) days prior to the end of the Initial Term, or unless terminated earlier
                       as per this Agreement. The Initial Term and the Renewal Term are collectively referred
                       to as the "Term." If Google provides notice of non-renewal during the Initial Term in
                       accordance with this Section 17, then Facebook will owe no Minimum Fee for the
                       remainder of the fourth year of the Initial Term after Google has provided such notice; for
                       clarity, if Facebook provides notice of non-renewal during the Initial Term in accordance
                       with this Section 17, then the Minimum Fee will continue to apply.

                 18. Termination.

                       18.1. Termination for Convenience. After the Initial Term, either Party may terminate
                             the Agreement as follows: (a) upon six (6) months' prior written notice to the other
                             Party if Facebook's Gross Spend (as defined in Exhibit B) for the year of the Term
                             immediately preceding when such notice has been provided was less than or equal
                             to $1,000,000,000, (b) upon nine (9) months' prior written notice to the other Party if
                             Facebook's Gross Spend for the year of the Term immediately preceding when such
                             notice has been provided was between $1,000,000,001 to $1,500,000,000, (c) upon
                             twelve (12) months' prior written notice to the other Party if Facebook's Gross Spend
                             for the year of the Term immediately preceding when such notice has been provided
                             was between $1,500,000,001 to $2,500,000,000, (d) upon eighteen (18) months'
                             prior written notice to the other Party if Facebook's Gross Spend for the year of the
                             Term immediately preceding when written notice has been provided was between
                             $2,500,000,001 to $4,000,000,000, or (e) upon twenty-four (24) months' prior written
                             notice to the other Party if Facebook's Gross Spend for the year of the Term
                             immediately preceding when written notice has been provided was greater than
                             $4,000,000,000.




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                      18.2. Termination for Breach. Either party may terminate this Agreement if the other
                            party: (a) fails to cure any material breach of this Agreement (excluding, for clarity,
                            Exhibit A, which will be governed by 18.3) within sixty (60) days of the non-breaching
                            party's written notice of such material breach; (b) ceases to do business in the
                            ordinary course; or (c) seeks protection under any bankruptcy, receivership, trust
                            deed, creditors arrangement, composition or comparable proceeding, or if any such
                            proceeding is instituted against such party (and not dismissed within sixty (60) days).

                      18.3. Termination for failure to comply with Program commitments. On an annual
                            basis following the Effective Date until Phase 2, if either Party has failed to meet the
                            commitments set forth in Exhibit A (Program Commitments), then the other Party
                            may initiate the Structured Negotiation Process. If the Parties are unable to resolve
                            the issue following the Structured Negotiation Process, then either Party may
                            terminate this Agreement following the Structured Negotiation Process, which
                            termination will be effective upon 30 days' written notice.

                      18.4. Termination due to Regulatory Inquiry. After first discussing with the other Party
                            in good faith its concerns and potential alternatives to such termination, and only if a
                            Party has otherwise taken all actions in compliance with the Agreement, either Party
                            may terminate the Agreement:

                           (a)    Within ninety calendar days of such Party receiving a Material Document
                                  Request from a Covered Governmental Authority in an investigation or inquiry
                                  substantially relating to the Agreement, provided that, prior to such
                                  termination pursuant to this Section 18.4(a), the terminating party will have first
                                  exhausted its reasonable best efforts obligation in Section 7.2(a) above and
                                  provided further that the terminating party will be entitled to one 30-day
                                  extension of the period provided for in this paragraph upon written notice to the
                                  other party that, while it has not yet exhausted its obligation under Section
                                  7.2(a), it is continuing good faith efforts to do so;

                           (b)    Within thirty calendar days of a Covered Governmental Authority commencing
                                  a formal inquiry or investigation (of which such party is a subject, target or
                                  respondent) (i) pursuant to an Antitrust Law or, in the case of a Covered
                                  Governmental Authority that is a national data protection authority, any national
                                  data protection law, and (ii) substantially relating to the Agreement;

                           (c)    Within thirty calendar days of a Covered Governmental Authority initiating an
                                  Antitrust Action or Data Protection Action against such Party, provided that,
                                  prior to such termination pursuant to this provision, the Party will have first
                                  exhausted its reasonable best efforts obligations in Section 7.2(b) above (and
                                  given the other Party a reasonable opportunity to do so), and provided further
                                  that the terminating party will be entitled to up to two 30-day extensions of the
                                  period provided for in this paragraph upon written notice to the other party that,
                                  while it has not yet exhausted its obligation under Section 7.2(b) it is continuing
                                  good faith efforts to do so; or



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                           (d)    Immediately if either Party exhausted its right to appeal any court, tribunal or
                                  agency of competent jurisdiction enjoining or declaring the Agreement unlawful
                                  pursuant to the laws, rules, or regulations of that jurisdiction.

                           (e)    Scope of Termination. Notwithstanding the above, if either party exercises
                                  its right to terminate pursuant to Sections 18.4(a) to 18.4(d), such termination
                                  will be geographically limited as set forth in this subsection (to the greatest
                                  extent technically practicable) and the Agreement will remain in force as to all
                                  other geographic regions, provided that any applicable minimum spend
                                  commitments will be prorated accordingly based on Facebook's Gross Spend
                                  in that region for the previous 12 months as a percentage of Facebook's total
                                  Gross Spend for the previous 12 months (for example, if Facebook spent
                                  $10,000,000 in a particular region for the previous 12 months and Facebook's
                                  Gross Spend was $100,000,000 for the previous 12 months, then Facebook's
                                  spend         commitments       would      be      prorated       10%      (i.e.,
                                  $10,000,000/$100,000,000)), unless the terminating party reasonably and in
                                  good faith concludes that continuing operation of the Agreement in other
                                  geographic regions would be contrary to law, would have a Material Adverse
                                  Regulatory Effect, or would materially and adversely affect profitability of the
                                  Agreement as a whole to the terminating party:

                                  (1)    In the case of any termination pursuant to Sections 18.4(a) — (c), the
                                         termination will have effect solely within the geographic jurisdiction of the
                                         Covered Governmental Authority whose action(s) provided the basis for
                                         the termination or, if smaller, the geographic region to which the Material
                                         Document Request, formal inquiry, investigation, Antitrust Action or Data
                                         Protection Action providing the basis for the termination relates;

                                  (2)    In the case of any termination pursuant to Section 18.4(d), the
                                         termination will, to the greatest extent possible, be coterminous with the
                                         geographic scope of the relevant injunction or declaration of
                                         unlawfulness that provided the basis for the termination.

                      18.5. Notification of Termination. If this Agreement is terminated by either Party, either
                            Party may notify impacted Publishers, provided that, such impacted Publishers
                            have entered into a non-disclosure agreement protecting the confidentiality of all
                            disclosed information.

                      18.6. Survival. Notwithstanding termination or expiration of the Agreement, any provisions
                            of the Agreement that by their nature are intended to survive, will survive termination
                            including: Sections 1 (Certain Definitions), 6 (Privacy and Data), 7 (Regulatory
                            Cooperation), 8 (Intellectual Property), 10 (Publicity or PR), 11 (Confidentiality), 12
                            (Beta Features), 14 (Disclaimers), 15 (Indemnification), 16 (Limitation of Liability),
                            18.6 (Survival), and 19 (Miscellaneous).

                 19. Miscellaneous.




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                      19.1. Assignment. Neither Party may assign this Agreement (in whole or in part)
                            without the written consent of the other Party.

                      19.2. Entire Agreement. This Agreement sets out all terms agreed between the Parties
                            and supersedes all other agreements between the Parties relating to its subject
                            matter. In entering into this Agreement neither Party has relied on, and neither
                            Party will have any right or remedy based on, any statement, representation or
                            warranty (whether made negligently or innocently), except those expressly set out
                            in this Agreement.

                      19.3. Governing Law. CALIFORNIA LAW, EXCLUDING CALIFORNIA'S CHOICE OF
                            LAW RULES, WILL GOVERN ALL CLAIMS ARISING OUT OF OR RELATING TO
                            THIS AGREEMENT OR THE PROGRAM. ALL CLAIMS ARISING OUT OF OR
                            RELATING TO THIS AGREEMENT OR THE PROGRAM WILL BE LITIGATED
                            EXCLUSIVELY IN THE FEDERAL OR STATE COURTS IN SANTA CLARA
                            COUNTY, CALIFORNIA, USA, AND THE PARTIES CONSENT TO PERSONAL
                            JURISDICTION IN THOSE COURTS.

                      19.4. Equitable Relief. Nothing in this Agreement will limit a Party's ability to seek
                            equitable relief.

                      19.5. Notices. All notices of termination or breach must be in writing and addressed to
                            the other Party's Legal Department as well as the other party's primary contact.
                            The e-mail address for notices being sent to Google's Legal Department is legal-
                            notices@google.com. The address for notices being sent to Facebook's Legal
                            Department should be delivered to 1 Hacker Way, Menlo Park, CA 94025 with
                            attention to Facebook Legal Department. All other notices must be in writing and
                            addressed to the other party's primary contact. Notice will be treated as given on
                            receipt, as verified by written or automated receipt or by electronic log (as
                            applicable). These notice requirements do not apply to legal service of process,
                            which is instead governed by applicable law.

                      19.6. Amendments. All amendments must be agreed to by both Parties and expressly
                            state that they are amending this Agreement.

                      19.7. No Waiver. Neither Party will be treated as having waived any rights by not
                            exercising (or delaying the exercise of) any rights under this Agreement.

                      19.8. Severability. If any term (or part of a term) of the Agreement is invalid, illegal or
                            unenforceable, the rest of the Agreement will remain in effect.

                      19.9. No Third-Party Beneficiaries Unless Expressly Stated. Except as expressly
                            stated in this Agreement, there are no third-party beneficiaries to this Agreement.

                      19.10. No Agency. This Agreement does not create any agency, partnership, or joint
                             venture among the Parties. For clarity, this is not an exclusive agreement.




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                         19.11. Subcontractors. Either Party may subcontract any of its obligations under the
                               Agreement, without the written consent of the other Party. Each Party is liable for
                               the acts and omissions of its Subcontractors.

                         19.12. Approvals. The Parties agree that whenever the Agreement calls for written
                               request or written approval to be provided by either Party, unless otherwise
                               expressly stated that e-mail is not acceptable, such request or approval may be
                               provided via e-mail. In addition, unless otherwise stated in this Agreement, any
                               such approval will not be unreasonably withheld, delayed, or denied. For all
                               instances in this Agreement where e-mail approval or e-mail agreement is
                               permitted, such e-mail approval or e-mail agreement must be provided by a
                               representative of each Party with either a title of Director or a title more senior than
                               a Director.

                         19.13. Force Majeure. Except for payment obligations, no Party or its Affiliates is liable
                               for inadequate performance to the extent caused by a condition that was beyond its
                               reasonable control.

                         19.14. Counterparts. The Parties may execute this Agreement in counterparts, including
                               facsimile, PDF, or other electronic copies, which taken together will constitute one
                               instrument.

                         19.15. Currency. All dollar amounts referred to in this Agreement are in U.S. dollars.

                         19.16. Authority. Each Party represents that the individual signing this Agreement has
                               the requisite legal authority to bind the Party on whose behalf he/she is signing.

                 Agreed and accepted as of the latest of the signature dates below (the "Effective Date"):


                 GOOGLE LLC:                                                      FACEBOOK, INC.:


                 By:                                       701 R 09.27            By:

                                      Philipp Schindler    14:10:04
                 Name:              Authorizui Signatory
                                                                                  Name:
                 Title:
                                                           -07'00'                Title: Chief Operating Officer
                 Date:                                                            Date: September 24, 2018


                 GOOGLE IRELAND LTD.:                                             FACEBOOK IRELAND LTD.:

                 By:
                                                           Date:                  By:

                 Nan                                       2018.09.28             Name:
                 Title                                                            Title:
                 DatE                                      10:31:13               Date: September 24, 2018

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                                                            EXHIBIT A


                                                   PROGRAM COMMITMENTS

                      1. Certain Definitions.
                            a. "Match Rate" means the number of Bid Requests sent where Facebook
                                recognizes the End User (e.g., via the encrypted blob on mobile app or hosted
                                match data from cookie matching on web) divided by the number of Bid
                                Requests sent by Google to Facebook, multiplied by 100.
                            b. "Bid Response Rate" means the number of Bid Responses sent by Facebook
                                divided by the number of Bid Requests sent by Google to Facebook, multiplied
                                by 100.
                            c. "Win Rate" means the number of Final Clearinghouse Auctions that Facebook
                                wins divided by the number of Bid Responses sent by Facebook, multiplied by
                                100.

                      2. Phase 1 Initial Roll-Out.
                            a. The Parties will roll-out the Program to Publishers with the intent of enabling at
                               least fifty (50) Publishers for the Program and achieving the Match Rates, Bid
                               Response Rates, and Win Rates set forth in this Exhibit A (the initial ramp-up
                               period until at least fifty (50) Publishers are enabled for the Program and the
                               Match Rates, Bid Response Rates and Win Rates set forth in Exhibit A are met is
                               hereinafter referred to as "Phase 1").
                            b. As Google makes batches of ten (10) Publishers available to bid against via the
                               Program, Facebook will use commercially reasonable efforts to enable at least
                               80% of those Publishers (including entering into agreements with those
                               Publishers) within three (3) months of Google making available the 10th
                               publisher of that batch, until Facebook has enabled at least 50 of those
                               Publishers, so that Facebook has the ability to bid against all such Publisher Ad
                               Inventory via the Program.
                            c. For example (a) if Google makes a batch of ten (10) Publishers available to bid
                               against via the Program, Facebook will use commercially reasonable efforts to
                               enable at least eight (8) of those Publishers within three (3) months of Google
                               making available the tenth (10th) publisher, (b) if Google makes an additional
                               batch of ten (10) publishers available to bid against via the Program, Facebook
                               will use commercially reasonable efforts to enable at least sixteen (16) of the
                               twenty (20) publishers that Google has made available within three (3) months of
                               Google making available the twentieth (20th) publisher, (c) if Google makes a
                               third batch of ten (10) Publishers available to bid against via the Program,
                               Facebook will use commercially reasonable efforts to enable at least twenty-four
                               (24) of the thirty (30) Publishers that Google has made available within three (3)
                               months of Google making available the thirtieth (30th) Publisher, and so on.
                               During the Program, Facebook may request that Google enable certain
                               Publishers for the Program and Google will use commercially reasonable efforts
                               to enable such Publishers, subject to (a) the terms and conditions of this
                               Agreement and (b) such Publishers agreeing to the terms and conditions
                               Facebook and Google require for publishers to participate in the Program.

                      3. Match Rate. Google will use commercially reasonable efforts to ensure that the Match
                         Rate is at least 80% for mobile app and at least 60% for web (excluding Safari). For


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                         example, for one hundred (100) Bid Requests, Google would use commercially
                         reasonable efforts to ensure that Facebook will be able to identify the user on at least
                         sixty (60) Bid Requests. If other browser(s) prohibit or impose restrictions that are
                         similar to Safari's restrictions on the use of third party cookies, then the Parties will use
                         commercially reasonable efforts to adjust the Match Rate target level set forth in the first
                         sentence of this section to account for such browser(s) in a mutually agreeable manner.

                      4. Bid Response Rate. Facebook will use commercially reasonable efforts to ensure that
                         the Bid Response Rate is no more than ten percent (10%) below the Match Rate. For
                         example, for one hundred (100) Bid Requests, if Facebook can identify the End User on
                         at least sixty (60) Bid Requests, then Facebook will use commercially reasonable efforts
                         to send a Bid Response on at least fifty-four (54) of the Bid Requests.

                      5. Win Rate. For the duration of Phase 1 and Phase 2, Facebook will ensure that the Win
                         Rate is at least 10%. During Phase 3, Facebook will use commercially reasonable
                         efforts to ensure that the Win Rate is at least 10%. For example, for one hundred (100)
                         Bid Requests, if Facebook can identify the End User on at least sixty (60) Bid Requests,
                         and Facebook sends a Bid Response for fifty-four (54) of the Bid Requests, then
                         Facebook should bid high enough to win the Final Clearinghouse Auctions on at least
                         five and four tenths (5.4) Ad impressions.

                      6. Post-Invoice Revenue Reconciliation. During Phase 1, the Parties will measure
                         Google's revenue adjustment set forth in Section 5.1(d) of the Agreement and if either
                         Party reasonably determines that such adjustment is material, then, before the Phase 1
                         Completion Date, the Parties will reach mutual agreement (including via e-mail) on how
                         to mitigate such adjustment.

                      7. Phase 1 Completion. Phase 1 will come to completion once (a) at least fifty (50)
                         Publishers are participating in the Program, (b) the Match Rate, Bid Response Rate, and
                         Win Rate have reached the levels set forth in this Exhibit A on average for 28
                         consecutive days, and (c) mutual agreement on the mitigation, if necessary, set forth in
                         Section 6 of this Exhibit A (the "Phase 1 Completion Date"), provided that, Phase 2
                         will only begin on the first day of the first month of the Quarter immediately following the
                         Phase 1 Completion Date (i.e., January 1, April 1, July 1, and October 1).




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                                                         EXHIBIT B

                                                      FEE PAYMENTS

                      1.   Certain Definitions.
                           a. "Annual Minimum Spend Commitment" means the Gross Spend that
                               Facebook will be required to spend on an annual basis (i.e., the 12-month
                               period starting at the beginning of Phase 2). For clarity, the Annual Minimum
                               Spend Commitment will not exceed $500,000,000.
                           b. "Three-Month Minimum Spend Commitment" means the Gross Spend that
                               Facebook will be required to spend during each 3-month period during Phase
                               2 or Phase 3. For clarity, the Three-Month Spend Commitment will count
                               towards the Annual Minimum Spend Commitment.
                           c. "Fee" means the amount owed to Google as a percentage of Facebook's
                               Gross Spend, as further set forth in Exhibit B (with the Minimum Fee being the
                               minimum amount owed to Google).
                           d. "Gross Spend" means the sum of all of Facebook's winning bid amounts that
                               result in a billable event to fill Ad Inventory via the Program (for clarity, the
                               Gross Spend is the total aggregate number of winning bids that resulted in a
                               billable event before any fees payable to Google, Facebook, or any third
                               party).

                      2.   Phase 1.
                           a. Minimum Spend Commitment. During Phase 1, Facebook will be required
                              to spend a minimum of $20,000,000 ("Phase 1 Minimum Spend
                              Commitment"). If Facebook fails to meet the Phase 1 Minimum Spend
                              Commitment, Google will charge Facebook the applicable Fee multiplied by
                              the Phase 1 Minimum Spend Commitment. For clarity, in the event that the
                              Ad Inventory made available to Facebook does not allow for the $20,000,000
                              Phase 1 Minimum Spend Commitment, the Phase 1 Minimum Spend
                              Commitment will need to be prorated accordingly. The foregoing proration will
                               be calculated based on the assumption that 100,000,000,000 Bid Requests
                              will be required during Phase 1 to reach the $20,000,000 Phase 1 Minimum
                              Spend Commitment, so if Google sends less than 100,000,000,000 Bid
                              Requests during Phase 1 (such as 80,000,000,000), then Facebook's Phase 1
                              Minimum Spend Commitment would be reduced to $16,000,000 (e.g.,
                              80,000,000,000/100,000,000,000 multiplied by $20,000,000).

                      3.   Phase 2.
                           a. Phase 2. Once Phase 1 is completed, as specified in Exhibit A, the Program
                              will move into Phase 2 starting on the first day of the first month of the Quarter
                              immediately following the Phase 1 Completion Date (for clarity, Phase 1 will
                              continue until the Phase 2 Effective Date) ("Phase 2 Effective Date").
                           b. Annual Minimum Spend Commitment.



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                                i. Initial Annual Minimum Spend Commitment. Beginning on the first
                                      day of Phase 2, the Annual Minimum Spend Commitment for the first
                                      year of Phase 2 will be equal to the greater of (i) Facebook's average
                                      monthly spend for the three (3) months immediately preceding the
                                      beginning of Phase 2 multiplied by 12; or (ii) $20,000,000.
                                          1. For example, if Facebook's monthly average is $10,000,000 in
                                              Total Gross Spend for the 3-months preceding Phase 2,
                                              Facebook's initial Phase 2 Annual Minimum Spend Commitment
                                              would be $120,000,000.
                                 ii. Annual Minimum Spend Commitment. After the first year of Phase 2,
                                      and for each subsequent year during the Initial Term, the Annual
                                      Minimum Spend Commitment will be equal to the greater of (i)
                                      Facebook's average monthly spend for the six (6) months immediately
                                      preceding the start of such year multiplied by 12, or (ii) $20,000,000.
                           c.   Three-Month Spend Commitment. During Phase 2, the Three-Month
                                Spend Commitment will be equal to at least 20% of the applicable Annual
                                Minimum Spend Commitment.
                                  i. For example, if Facebook's monthly average is $10,000,000 in Gross
                                      Spend for the 3 months preceding Phase 2, and Facebook's initial
                                      Annual Minimum Spend Commitment is $120,000,000, Facebook's
                                      Three-Month Spend Commitment would be 20% of $120,000,000,
                                      which is $24,000,000.
                           d.   Prorated Spend Commitment. If there is not a full calendar year
                                remaining before the end of the Initial Term, Facebook's Annual Minimum
                                Spend Commitment and Three-Month Spend Commitment will be prorated
                                accordingly on a monthly basis (for example, if there are six months
                                remaining in the calendar year, Facebook's Annual Minimum Spend
                                Commitment will be prorated by 50%).
                           e.   Minimum Fee. If Facebook fails to meet the Three-Month Spend
                                Commitment during any 3-month period, Facebook will be required to pay
                                Google the applicable Fee multiplied by the Three-Month Spend
                                Commitment. If Facebook fails to meet the Annual Minimum Spend
                                Commitment, Google will charge Facebook the applicable Fee multiplied by
                                the Annual Minimum Spend Commitment (such charges as set forth in the
                                two immediately preceding sentences of this Section 3(e), the "Minimum
                                Fee"). For clarity, any Three-Month Spend Commitment payment will count
                                toward Facebook's Annual Minimum Spend Commitment.
                                   i. For example, if Facebook failed to meet a Three-Month Spend
                                       Commitment of $24,000,000, then the Minimum Fee would be equal to
                                       the 10% Fee (as set forth below) multiplied by $24,000,000, which is
                                       $2,400,000 for that 3-month period. For clarity, this Minimum Fee
                                       would count against Facebook's Annual Minimum Spend Commitment,
                                       so the Annual Minimum Spend Commitment would decrease from




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                                                                                                                          eh%




                                          $120,000,000 to $96,000,000 (after Facebook paid Google the
                                          Minimum Fee).

                        4.    Phase 3.
                              a.   Phase 3. The final phase of the Program ("Phase 3") will begin on the first
                                   day of the fourth year of the Term ("Phase 3 Effective Date") and will
                                   continue for the remainder of the Term.
                              b.   Annual Minimum Spend Commitment. As of the Phase 3 Effective Date
                                   and for each year of Phase 3, Facebook's Annual Minimum Spend
                                   Commitment will be $500,000,000.
                              c.   Three-Month Spend Commitment. As of the Phase 3 Effective Date,
                                   Facebook's Three-Month Spend Commitment for Phase 3 will be
                                   $100,000,000.
                              d.   Minimum Fee. In the event Facebook fails to meet either the Three-Month
                                   Spend Commitment or the Annual Spend Minimum Commitment during
                                   Phase 3, Facebook will be required to pay Google the Minimum Fee. For
                                   clarity, any Minimum Fee during Phase 3 will be calculated in the same
                                   manner as any Minimum Fee is calculated during Phase 2, provided that,
                                   the applicable Fee for Phase 3 used to calculate the Minimum Fee will be as
                                   set forth in Section 5 of this Exhibit B below.

                         5.      Fee.

                 Phase 1 and Phase 2.

                 The following Fee will be charged during Phase 1 and Phase 2:


                Gross Spend on Annual Basis                      Fees (% of Gross Spend)


                $0 - $500,000,000                                10%

                $500,000,001 +                                   5%



                 For clarity, the above rates are tiered (i.e., if Facebook spends $600,000,000, then Google will
                 charge a 10% Fee against the first $500,000,000 of spend and a 5% Fee against the next
                 $100,000,000 of spend).

                 Phase 3.

                 The following Fee will be charged during Phase 3.




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                                                                                                                              eh%




                Gross Spend on Annual Basis                      Fee (% of Gross Spend)


                $0 - $500,000,000                                10%

                $500,000,001 +                                   5%



                 For clarity, the above rates are tiered (i.e., if Facebook spends $600,000,000, then Google will
                 charge a 10% Fee against the first $500,000,000 of spend and a 5% Fee against the next
                 $100,000,000 of spend).

                 Notwithstanding the foregoing sentence and table, in Phase 3, if Facebook's Gross Spend is
                 $375,000,000 in any Quarter, the next Quarter's Fee will be billed at a flat rate of 5% of Gross
                 Spend; however, if Facebook fails to spend $375,000,000 in the following Quarter, the next
                 Quarter's Fee will be billed at a flat rate of 10% of Gross Spend. This will continue for the
                 duration of the Term (e.g., during Phase 3, each Quarter's Fee will be adjusted based on
                 Facebook's previous Quarter's Gross Spend).




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                                                   EXHIBIT C - GOOGLE POLICIES


                 Suspension for Non-Compliance

                 If Facebook does not comply with this Exhibit C or Sections 6.1, 6.2, 6.6, 6.7, 6.8, 6.9, or 13(c)
                 of the Agreement or if Facebook Ads fail to comply with the Common Advertiser Policies set
                 forth in Exhibit D (the foregoing are hereinafter referred to as the "Material Provisions") and
                 such non-compliance results in a Material Negative Event (as defined below), as reasonably
                 determined by Google, then Google may suspend Facebook's use of the Program immediately
                 until such non-comp lance is remedied, as reasonably determined by Google, provided that (i)
                 Google provides Facebook with written notice concurrent with such suspension and (ii) Google
                 and Facebook use commercially reasonable efforts to work together to resolve such suspension
                 within a forty-eight (48) hour period. In all other instances, if Facebook does not comply with the
                 Material Provisions, Google may suspend Facebook's use of the Program until such nen-
                 complianc         nedied, as reasonably determined by Goo           provided that, (x) Google
                 provides Facebook with five (5) days prior written notice of such suspension and (y) if Facebook
                 fails to remedy any non-compliance by Facebook within such period, as reasonably determined
                 by Google. "Material Negative Event" means any event, or accumulation of more than one
                 event, related to non-compliance with the Material Provisions that has, or could reasonably be
                 expected to have, a material adverse effect on the business, financial condition, public relations,
                 or operations of Google.

                 If any suspension lasts for at least sixty (60) days period and the Parties are unable to reach
                 agreement on a resolution, then Facebook may initiate the Structured Negotiation Process and
                 if the Parties are unable to resolve the issue following the Structured Negotiation Process, then
                 Facebook may terminate the Agreement immediately upon written notice.


                 Prohibited Practices
                 The Program must not be used in connection with the following:

                      Circumventing ad systems

                         •   Attempting to circumvent or interfere with Google's advertising systems and
                             processes (e.g. cloaking).
                         •   Engaging in practices that attempt to artificially inflate impressions, conversions and/or
                             clicks (e.g. pay-to-click schemes, click fraud).
                         •   Using systems that overlay ad space on a aiven property (e.g. ite, page, app, or other
                             property) without express permission of the property owner.




                 Privacy Requirements
                 When using the Program, Facebook must comply with the following:

                      Identifying users and user consent



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                         •   Facebook must not pass any information to Google:
                                 o that Google could use or recognize as PII; or
                                 o that permanently identifies a particular device (such as a mobile phone's
                                      unique device identifier if such an identifier cannot be reset).
                                 o "P11" means information that could be used on its own to directly identify,
                                      contact or precisely locate an individual, including full names, email addresses
                                      mailing addresses and phone numbers. For clarity, Pll excludes
                                      pseudonymous cookie IDs, pseudonymous advertising IDs, IP addresses anc'
                                      nther pseudonymous end user identifiers.
                         •   Facebook must not use the Program to facilitate the merging of personally-identifiable
                             information with information previously collected as non-personally identifiable
                             information without robust notice of, and the user's prior affirmative (i.e. opt-in)
                             consent to, that merger, provided that Google acknowledges and agrees that if
                             Facebook obtains legally valid rights (including consents for Facebook Users located
                             in any jurisdiction where such consents are required) from Facebook Users for such
                             merger when such Facebook Users sign up to use Facebook owned-and-operated
                             properties, the foregoing is sufficient for Facebook to comply with this obligation.
                         •   Facebook must not set a cookie on Google's domains or modify, intercept or delete
                             cookies set on Google's domains.
                         •   Except for spam, fraud and security breach detection, Facebook must not use device
                             fingerprints or locally shared objects (e.g. Flash cookies, Browser Helper Objects,
                             HTML5 local storage) other than HTTP cookies, or user-resettable mobile device
                             identifiers designed for use in advertising, in connection with the Program.

                      Using location data
                         •   if in connection with the Program Facebook collects, processes or discloses
                             information that identifies or can be used to infer an End User's precise geographic
                             location, such as GPS, wifi or cell tower data Facebook will only send such information
                             to Google in an encrypted state or via an encrypted channel.

                      Personalized advertising

                         •   Facebook has obtained legally valid legal rights (including consents for Facebook
                             Users located in any jurisdiction where such consents are required) from Facebook
                             Users to select or target Personalized Advertising (including remarketing). "Facebook
                             Users" means End Users who have accepted the user terms and conditions for a
                             Facebook owned-and-operated product or service.
                         •   Facebook may select or target Personalized Advertising (including remarketing) to
                             non-Facebook Users for purposes of promoting Facebook owned-and-operated
                             products and services (e.g., Instagram, WhatsApp, etc.).
                         •   Except as identified above, Facebook will not select or target Personalized Advertising
                             (including remarketing) to non-Facebook Users, unless otherwise agreed to by Google
                             in writing (including via e-mail).




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                      •   "Personalized Advertising" means Ads that include content and/or targeting
                          customized on the basis of a personal characteristic (inferred or implied) of an End
                          User.
                             o Facebook must have all rights necessary to use Facebook Data and Google
                                must have all rights necessary to use Google Data;
                             o Both Parties must comply with the Self-Regulatory Principles for Online
                                Behavioral Advertising of the Digital Advertising Alliance and IAB Europe's EU
                                Framework for Online Behavioral Advertising).
                             o For clarity, Personalized Advertising that is conducted outside of the Program
                                will not use Google Data.


                 PROGRAM GUIDELINES.

                      1. Written Certification. No more than once every 3 years, a Party may request, in
                         writing that the other Party provide a written certification signed by a director (or more
                         senior member) of its Engineering team responsible for the, with respect to Google,
                         operation of, and with respect to Facebook, use of, the Program (Written
                         Certification") stating that, after reasonable diligence, to that person's knowledge, it
                         has complied with the terms and conditions of this Agreement. The certifying Party
                         will provide this Written Certification no later than 30 days after its receipt of the
                         request. If the certifying Party has not provided Written Certification by such 30th day,
                         then the requesting Party may initiate the Structured Negotiation Process and if the
                         Parties are unable to resolve the issue following the Structured Negotiation Process,
                         then, in addition to any other remedies the requesting Party may have, the requesting
                         Party may immediately terminate the Agreement upon written notice to the other
                         Party.

                      2. Cookie Matching

                           (a) Generally. Subject to the Data Protection section (Section 4 of this Exhibit C)
                               below, each Party may associate identifiers received from the cookie match
                               service ("Match Data") with data such Party already owns, provided upon any
                               User deletion of a cookie or reset of a mobile advertising identifier, such Party
                               promptly dissociate any related data linked to the Match Data. The Parties must
                               implement cookie matching as set forth in the sentence above as mutually
                               agreed to by the Parties.
                           (b) Restrictions on Match Data. Facebook and Google Demand are not permitted
                               to use Match Data for (i) building, creating, or enhancing End User profiles, data
                               lists, or advertising segments (except for purposes of implementing cookie
                               matching between Facebook and Google as contemplated by this Agreement), or
                               (ii) circumventing user identifier resets. "Google Demand" means DoubleClick
                               Bid Manager or the Google Display Network when eligible to compete for the
                               same query as Facebook under the Program.


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                           (c) Requirements for Passing Ad Tags and Redirects. Facebook is only
                               permitted to redirect an ad match tag to fourth parties when the ad match is
                               initiated by Facebook. Any such redirected ad match can only be used to
                               associate two anonymous cookies for the subsequent purpose of enabling ad
                               targeting and reporting for a given impression. For clarity, Facebook must own
                               the root domain of any URL that Facebook provide to Google for use in ad
                               matches initiated by Google.
                           (d) End Users in the European Economic Area. For End Users in the European
                               Economic Area, Facebook will only initiate cookie matching in connection with
                               this Program on site(s) or other web propert(ies) that are using Google publisher
                               products. For clarity, the Properties) of any Publishers participating in the
                               Program are deemed to be using Google publisher products.

                      3.   Interest-Based Advertising. In addition to the interest-based advertising policies
                           included in this Exhibit C, Facebook must also comply with the following policies:

                           (a) In-Ads Notice. Where technically feasible, Facebook will ensure that all Ads
                              provided by Facebook or its Advertisers through the Program contain a notice
                              that is visually distinct from the Ad Choices icon and clearly identifies Facebook
                              or the Facebook Audience Network as the source of the Ad. Where the
                              foregoing is not technically feasible, then Facebook will (a) ensure that all Ads
                              provided by provided by Facebook or its Advertisers through the Program contain
                              the Ad Choices icon that links to a notice that identifies Facebook or the
                              Facebook Audience Network (and not the Advertiser) as the source of the Ad,
                              and (b) use commercially reasonable efforts to develop a solution that ensures
                              that all Ads provided by Facebook or its Advertisers through the Program contain
                              a notice that is visually distinct from the Ad Choices icon and clearly identifies
                              Facebook or the Facebook Audience Network as the source of the Ad.


                      4. Data Protection. If either Party accesses, uses, or processes personal information
                         made available by the other that directly or indirectly identifies an individual and that
                         originated in the European Economic Area ("Personal Information"), then that Party
                         will:


                           a. comply with all privacy, data security, and data protection laws, directives,
                              regulations, and rules in any applicable jurisdiction;
                           b. use or access Personal Information only for purposes consistent with the legal
                              basis relied upon for the processing of that Personal Information relates;
                           c. implement appropriate organizational and technical measures to protect the
                              Personal Information against loss, misuse, and unauthorized or unlawful access,
                              disclosure, alteration and destruction;
                           d. and provide the same level of protection as is required by the




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                                 Both Parties will regularly monitor its compliance with this obligation and
                                 immediately notify the other Party in writing if such party can no longer meet this
                                 obligation, and in such cases such Party will either cease processing Personal
                                 Information or immediately take other reasonable and appropriate steps to
                                 remedy the failure to provide an adequate level of protection.

                      5. Eligible Transactions in Network Bidding. Unless otherwise approved by Google,
                         Facebook is not permitted to participate in the Program (i) for the purpose of buying
                         solely on behalf of a single advertiser, including Facebook, or (ii) if Facebook uses an
                         AdWords account to buy display or video advertising for any purpose other than to
                         advertise Facebook's owned-and-operated products and services.

                      6. No Sub-syndication Policy. Facebook may only purchase Ad Inventory through the
                         Program for use directly by an Advertiser (or direct agent of an Advertiser, including third
                         party service providers that buy Ad Inventory on behalf of an Advertiser as part of the
                         Facebook Marketing Partner program (which excludes, for clarity, ad exchanges that are
                         operating as ad exchanges to buy Ad Inventory on behalf of an Advertiser)) with which
                         Facebook has a direct relationship. Reselling, distributing or otherwise sub-syndicating
                         inventory to another indirect sales channel is prohibited. Facebook must not use the
                         Program for buying Ad Inventory for which Facebook directly or indirectly pays or
                         receives a share of revenues to or from an entity that would otherwise prevent the Ad
                         Inventory from being monetized.

                      7. Bidding. The "Facebook Rendering Rate" is the percentage calculated by dividing (i)
                         the number of instances where Facebook wins the Final Clearinghouse Auction for Ad
                         Inventory and succeeds to serve an Ad impression, resulting in a billable event, as
                         measured by Google by (ii) the total number of Final Clearinghouse Auctions that
                         Facebook has won on such Ad Inventory, as measured by Google. The "Average
                         Rendering Rate" is the percentage calculated by dividing (i) the number of instances
                         where all buyers (including, for clarity, Facebook) win the Final Clearinghouse Auction
                         for Ad Inventory and succeed to serve an Ad impression, resulting in a billable event, as
                         measured by Google by (ii) the total number of Final Clearinghouse Auctions that all
                         buyers (including, for clarity. Facebook) have won on such Ad Inventory, as measured
                         by Google. The "Rendering Rate Ratio" is the Average Rendering Rate divided by the
                         Facebook Rendering Rate, provided that if such ratio is between .97 and 1.03, then
                         Google will provide a Rendering Rate Ratio of 1.0. For clarity, with respect to a
                         Rendering Rate Ratio, the component Facebook Rendering Rate and Average
                         Rendering Rate will each be measured over the same time period. In each Bid Request,
                         Google will provide Facebook the Rendering Rate Ratio and sufficient information for
                         Facebook to calculate the Facebook Rendering Rate and Average Rendering Rate.
                         "Competing Bid" means Facebook's bid value on the applicable Ad Inventory in the
                         Final Clearinghouse Auction. "Payment Bid" means Facebook's bid value on the
                         applicable Ad Inventory in the Final Clearinghouse Auction multiplied by the Rendering
                         Rate Ratio. For clarity, the Payment Bid divided by the Competing Bid must equal the



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                      Rendering Rate Ratio. In each Bid Response, Facebook will provide Google with both
                      the Competing Bid and the Payment Bid. If Facebook omits either the Payment Bid and
                      Competing Bid in the Bid Response or if the Payment Bid divided by the Competing Bid
                      does not equal the Rendering Rate Ratio, then such Facebook bid is considered an
                      invalid response and will not compete in the Final Clearinghouse Auction. For clarity, (a)
                      the foregoing process set forth in this Section 7 of Exhibit C is not considered a violation
                      of Section 2.1(a) of the Agreement and (b) the Parties may agree, in writing, to a
                      mutually agreeable alternative solution to the solution set forth in this Section 7 of Exhibit
                      C (such agreement may be provided via e-mail).




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                                           EXHIBIT D - COMMON ADVERTISER POLICIES



                 The following is a subset of the Facebook Advertising Policies in effect as of the Effective Date:

                 4. Prohibited Content
                      4.3 Discriminatory Practices. Ads must not discriminate or encourage discrimination
                      against people based on personal attributes such as race, ethnicity, color, national origin,
                      religion, age, sex, sexual orientation, gender identity, family status, disability, medical or
                      genetic condition.


                      4.6 Unsafe Supplements. Ads must not promote the sale or use of unsafe supplements,
                      as determined by Facebook in its sole discretion.

                      4.8 Adult Products or Services. Ads must not promote the sale or use of adult products or
                      services, except for ads for family planning and contraception. Ads for contraceptives must
                      focus on the contraceptive features of the product, and not on sexual pleasure or sexual
                      enhancement, and must be targeted to people 18 years or older.

                      4.9 Adult Content. Ads must not contain adult content. This includes nudity, depictions of
                      people in explicit or suggestive positions, or activities that are overly suggestive or sexually
                      provocative.

                      4.12 Personal Attributes. Ads must not contain content that asserts or implies personal
                      attributes. This includes direct or indirect assertions or implications about a person's race,
                      ethnic origin, religion, beliefs, age, sexual orientation or practices, gender identity, disability,
                      medical condition (including physical or mental health), financial status, membership in a
                      trade union, criminal record, or name.

                 5. Restricted Content
                      5.3 Real Money Gambling. Ads that promote or facilitate online real money gambling, real
                      money games of skill or real money lotteries, including online real money casino, sports
                      books, bingo, or poker, are only allowed with prior written permission. Authorized gambling,
                      games of skill or lottery ads must target people 18 years or older who are in jurisdictions for
                      which permission has been granted.


                      5.11 Political Advertising. Advertisers can run political, election related and issue ads,
                      provided the advertiser complies with all applicable laws and the authorization process
                      required by Facebook.



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                 10. Lead Ads
                      10.4 Government Issued Identifiers. Ads must not request government-issued identifiers,
                      including Social Security numbers, passport numbers or driver's license numbers without
                      our prior permission.

                      10.8 Race or Ethnicity. Ads must not request information regarding race or ethnicity
                      without our prior permission.

                      10.12 Trade Union Membership. Ads must not request information regarding trade Union
                      membership status without our prior permission.




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                                               EXHIBIT E — DATA CATEGORIES


                  Data Fields                                 Data Categories
                  Device.brand                                Google User Data
                  Device.carrier_id                           Google User Data
                  Device.device_type                          Google User Data
                  Device.hardware_version                     Google User Data
                  Device.model                                Google User Data
                  Device.os_version                           Google User Data
                  Device.platform                             Google User Data
                  Device.screen_height                        Google User Data
                  Device.screen_pixel_ratio_millis            Google User Data
                  Device.screen_width                         Google User Data
                  geo_criteria_id                             Google User Data
                  google_user_id                              Google User Data
                  hyperlocal_set                              Google User Data
                  ip                                          Google User Data
                  Mobile.advertising_id                       Google User Data
                  Mobile.hashed_idfa                          Google User Data
                  postal_code                                 Google User Data
                  postal_code_prefix                          Google User Data
                  timezoneoffset                              Google User Data
                  user_agent                                  Google User Data
                  AdSlot.allowed_languages                    Google Proprietary Data until launch of
                                                              mutually agreed upon blocking functionality
                                                              in accordance with Section 2.1(f), then
                                                              Publisher-Specific Data

                  AdSlotallowed_vendor_type                   Google Proprietary Data until launch of
                                                              mutually agreed upon blocking functionality
                                                              in accordance with Section 2.1(f), then
                                                              Publisher-Specific Data

                  AdSlot.excluded attribute                   Google Proprietary Data until launch of
                                                              mutually agreed upon blocking functionality
                                                              in accordance with Section 2.1(f), then
                                                              Publisher-Specific Data

                  AdSlot.excluded product_category            Google Proprietary Data until launch of
                                                              mutually agreed upon blocking functionality




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                                                               in accordance with Section 2.1(f), then
                                                               Publisher-Specific Data

                  AdSlot.excluded sensitive_category           Google Proprietary Data until launch of
                                                               mutually agreed upon blocking functionality
                                                               in accordance with Section 2.1(f), then
                                                               Publisher-Specific Data
                  AdSlot.click_through_rate                    Google Proprietary Data
                  AdSlot.dfp_ad_unit_code                      Google Proprietary Data
                  AdSlot.ExchangeBidding.key_value             Google Proprietary Data
                  AdSlot.ExchangeBidding.publisher_parameter   Google Proprietary Data
                  AdSlot.MatchingAdData.nninimum cpm micros    Google Proprietary Data

                  AdSlot.session_depth                         Google Proprietary Data
                  AdSlot.slot_visibility                       Google Proprietary Data
                  AdSlot.video_completion rate                 Google Proprietary Data
                  AdSlot.viewability                           Google Proprietary Data
                  anonymous_id                                 Google Proprietary Data
                  bid_response_feedback.competing_bid_value    Google Proprietary Data
                  bid_response_feedback.creative_status code   Google Proprietary Data
                  detected_content_label                       Google Proprietary Data
                  detected_language                            Google Proprietary Data
                  detected vertical                            Google Proprietary Data
                  Mobile.is nnobile_web_optinnized             Google Proprietary Data
                  Video.content_attributes                     Google Proprietary Data
                  Rendering Rate Ratio                         Google Proprietary Data
                  Average Rendering Rate                       Google Proprietary Data
                  Facebook Rendering Rate                      Google Platform Data
                  AdSlot.ad_block_key                          Google Platform Data
                  AdSlot.allowed_ad_types                      Google Platform Data
                  AdSlot.amp_ad requirement_type               Google Platform Data
                  AdSlot.buyer_generated request_data          Google Platform Data
                  AdSlot.consented_providers_settings          Google Platform Data
                  AdSlot.height                                Google Platform Data
                                                               Google Platform Data
                  AdSlot.iframing_state                        Google Platform Data
                  AdSlot.is_amp_page                           Google Platform Data
                  AdSlot.is_rewarded                           Google Platform Data
                  AdSlot.MatchingAdData.billing_id             Google Platform Data


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                  AdSlot.NativeAdTennplate                        Google Platform Data
                  AdSlot.regs_gdpr                                Google Platform Data
                  AdSlot.renderer                                 Google Platform Data
                  AdSlot.sticky_settings                          Google Platform Data
                  AdSlot.width                                    Google Platform Data
                  bid_response_feedback.buyer creative_id         Google Platform Data
                  bid_response_feedback.event_notification_cod    Google Platform Data
                  e
                  bid_response_feedback.request_id                Google Platform Data
                  hosted_match_data                               Google Platform Data
                  Mobile.app_category_id                          Google Platform Data
                  Mobile.app_category_ids                         Google Platform Data
                  Mobile.app_id                                   Google Platform Data
                  Mobile.app_name                                 Google Platform Data
                  Mobile.app_rating                               Google Platform Data
                  Mobile.is app                                   Google Platform Data
                  publisher country                               Google Platform Data
                  publisher id                                    Google Platform Data
                  Reporting (include API access, data transfer)   Google Platform Data
                  response_deadline_ms                            Google Platform Data
                  url                                             Google Platform Data
                  user_data_treatment                             Google Platform Data
                  Video.allowed_video_formats                     Google Platform Data
                  Video.companion_slot*                           Google Platform Data
                  Video.description_url                           Google Platform Data
                  Video.end_cap_support                           Google Platform Data
                  Video.max_ad duration                           Google Platform Data
                  Video.min_ad_duration                           Google Platform Data
                  Video.placement                                 Google Platform Data
                  Video.playback_method                           Google Platform Data
                  Video.protocols                                 Google Platform Data
                  Video.skippable_max_ad_duration                 Google Platform Data
                  Video.video_ad_skippable                        Google Platform Data
                  Video.videoad_start_delay                       Google Platform Data
                  Match Data                                      Match Data




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